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                 EXHIBIT G
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  7   Attorneys for Plaintiff Lucine Trim and the Putative Class
  8

  9                                UNITED STATES DISTRICT COURT

 10                              CENTRAL DISTRICT OF CALIFORNIA

 11                                       SOUTHERN DIVISION
 12    LUCINE TRIM,                                   CASE NO.: 8:20-cv-02251
 13    individually and on behalf of all others
       similarly situated,                            COMPLAINT FOR VIOLATION OF THE
 14                                                   TELEPHONE CONSUMER PROTECTION
                          Plaintiff,                  ACT, 47 U.S.C. SECTION 227, ET SEQ.
 15
       v.                                             CLASS ACTION
 16
       NETWORK CAPITAL FUNDING
 17    CORPORATION, a Nevada corporation,
       and DOES 1 through 10, inclusive,
 18                                                   JURY TRIAL DEMANDED
                          Defendants.
 19

 20

 21
      Additional counsel for Plaintiff and the Putative Class:
 22
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  1          Plaintiff Lucine Trim, individually and on behalf all others similarly situated, alleges as
  2   follows against Defendants Network Capital Funding Corporation, a Nevada corporation, and Does
  3
      1 through 10, inclusive:
  4
                                     I.     JURISDICTION AND VENUE
  5
      1.     This Court has federal question subject matter pursuant to 28 U.S.C. §§ 1331 and 1337
  6

  7          (commerce) as this action arises under the Telephone Consumer Protection Act, 47 U.S.C.

  8          § 227 et seq. (“TCPA”), a federal statute. (See Mims v. Arrow Financial Services, LLC, 132

  9          S.Ct. 740, 751-53 (2012); Brill v. Countrywide Home Loans, Inc., 427 F.3d 446 (7th Cir.
 10
             2005)).
 11
      2.     This Court has personal jurisdiction over Defendants and venue is proper in this District
 12
             because Defendants conduct business within this District and have purposefully availed
 13
             themselves of the laws and markets of the state of California and this District.
 14
 15                                         II.     INTRODUCTION

 16   3.     Plaintiff Lucine Trim, individually and on behalf all others similarly situated, brings this
 17          action against Defendant Network Capital Funding Corporation, a Nevada corporation, and
 18
             Does 1-10, to stop Defendants’ practice of making phone calls to cellular telephones using
 19
             an automated telephone dialing system and/or a prerecorded message or artificial voice, and
 20
             to obtain redress for all persons injured by its conduct.
 21

 22                                          III.   THE PARTIES

 23   4.     Plaintiff, Lucine Trim is an individual who resides in North Hollywood, California.

 24   5.     Defendant Network Capital Funding Corporation is a Nevada corporation with offices at
 25          7700 Irvine Center Drive, Suite 300, Irvine, CA 92616. Its registered agent is Tri Nguyen
 26
             at that address.
 27

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  1   6.    The true names and capacities of Defendants Does 1 through 10 are currently unknown to
  2         Plaintiff, who alleges that Does 1 through 10 are responsible in some manner for the injuries
  3
            sustained by Plaintiff as hereinafter alleged. Plaintiff requests leave to file amendments to
  4
            this Complaint alleging the true names and capacities of Does 1 through 10 when the same
  5
            have been ascertained.
  6

  7   7.    Plaintiff is informed and believes, and on that basis alleges, that at all times herein

  8         mentioned each of the Defendants was an agent, servant, employee, and/or joint venture of

  9         each of the remaining Defendants, and was at all times acting within the course and scope
 10
            of such agency, service, employment, and/or joint venture, and each Defendant has ratified,
 11
            approved, and authorized the acts of each of the remaining Defendants with full knowledge
 12
            of said facts.
 13
      8.    Defendants, and each of them, aided and abetted, encouraged, and rendered substantial
 14
 15         assistance to the other Defendants in breaching their obligations to Plaintiff as alleged

 16         herein. In taking action, as alleged herein, to aid and abet and substantially assist the
 17         commissions of these wrongful acts and other wrongdoings complained of, each of the
 18
            Defendants acted with an awareness of its/his/her primary wrongdoing and realized that
 19
            its/his/her conduct would substantially assist the accomplishment of the wrongful conduct,
 20
            wrongful goals, and wrongdoing.
 21

 22   9.    There is a unity of interest between Defendants, and each acts as the alter ego of the other.

 23                            IV. THE TELEPHONE CONSUMER
                              PROTECTION ACT (“TCPA”), 47 U.S.C. §227
 24
      10.   Congress enacted the TCPA in 1991 in response to a growing number of consumer
 25

 26         complaints regarding telemarketing robocalls.

 27   11.   Congress enacted the TCPA to prevent real harm. Congress found that "automated or pre-

 28         recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

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  1         decided that "banning" such calls made without consent was "the only effective means of
  2         protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-
  3
            243 (Dec. 20, 1991); see also Mims v. Arrow Fin. Servs., LLC, 132 S Ct. 740, 744 (2012)
  4
            ("The Act bans certain practices invasive of privacy").
  5
      12.   Consumer complaints about this conduct have only increased since then. "If robocalls were
  6

  7         a disease, they would be an epidemic." Rage Against Robocalls, Consumer Reports (July

  8         28, 2015). "Robocalls" are the #1 consumer complaint in America today. The Federal Trade

  9         Commission (FTC) and Federal Communications Commission (FCC) regularly cite
 10
            "unwanted and illegal robocalls" as their number-one complaint category. The FTC
 11
            received more than 1.9 million complaints filed in the first five months of 2017 and about
 12
            5.3 million in 2016. The FCC has stated that it gets more than 200,000 complaints about
 13
            unwanted telemarketing calls each year. These complaints are on top of the complaints each
 14
 15         state AG ' s office receives and also does not include the millions of unreported calls.

 16   13.   In an effort to curb these unwanted calls, the TCPA regulates, inter alia, the use of
 17         automated telephone equipment (a/k/a "autodialers" or "robodialers") to make calls to any
 18
            cellular telephone number. Specifically, the plain language of section 227(b)(l )(A)(iii)
 19
            prohibits the use of autodialers to make any call to a wireless number in the absence of an
 20
            emergency or the prior express consent of the called party.
 21

 22   14.   In 2012, the FCC prohibited "any telephone call that includes or introduced an

 23         advertisement or constitutes telemarketing, using an automatic telephone dialing system or

 24         an artificial or prerecorded voice, to any [cellular telephone number], other than a call made
 25         with the prior express written consent of the called party[.]" 47 C.F.R. § 64. l 200(a)(2).
 26
            This prior express written consent requirement became effective on October 16, 2013.
 27
      ///
 28

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  1                                  V.   FACTUAL ALLEGATIONS
  2   15.   Plaintiff Lucine Trim is the subscriber to cellular telephone number xxx-xxx-2347 and pays
  3
            the cell phone bills.
  4
      16.   On September 16, 2020, at 9:35 am, Plaintiff received an autodialed call on her cell phone
  5
            from 818-350-8745. After a pause, a live person got on the line and offered mortgage loan
  6

  7         services to Plaintiff.

  8   17.   Later on September 16, 2020, Plaintiff received an email from Brad Gibson from Network

  9         Capital Funding Corporation, a copy of which is attached as Exhibit A. Plaintiff responded
 10
            to the email and asked Network Capital Funding to stop calling her.
 11
      18.   On September 30, 2020, Plaintiff received an autodialed call on her cell phone from 818-
 12
            643-3414. After a pause, a live person got on the line and offered mortgage loan services
 13
            to Plaintiff. After Plaintiff ended the call, she called back the number 818-643-3414 and
 14
 15         requested an email be sent to her so she could determine who was calling her.

 16   19.   Later on September 30, 2020, Plaintiff received an email from Martin Marquez at Network
 17         Capital Funding Corporation, a copy of which is attached as Exhibit B.
 18
      20.   Later on September 30, 2020, Plaintiff received a call from Martin Marquez at Network
 19
            Capital Funding Corporation, and requested that he remove her cell phone number because
 20
            she is not a homeowner and is not interested.
 21

 22   21.   Network Capital Funding Corporation, or an agent on its behalf, operates a call center,

 23         where automated equipment is used to place large numbers of telemarketing calls. The

 24         equipment has the present capacity to store or produce telephone numbers to be called, using
 25         a random or sequential number generator; and to dial such numbers.
 26
      22.   Plaintiff may have received other unsolicited, automated or prerecorded telemarketing calls
 27
            placed by or on behalf of Network Capital Funding Corporation.
 28

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  1   23.   Plaintiff has not consented to the receipt of any calls from Defendants.
  2   24.   By calling Plaintiff, Defendants caused Plaintiff and the putative class members actual
  3
            harm, including the aggravation and nuisance that necessarily accompanies the receipt of
  4
            unsolicited and harassing telephone calls, consumption of electricity in cost per-kilowatt
  5
            required to recharge the cell phones, consumption of money or purchased blocks of calls,
  6

  7         and wear and tear on telephone equipment. The calls took time to receive and Plaintiff's

  8         statutory right of privacy was invaded.

  9   25.   Discovery may reveal additional unsolicited, automated telemarketing calls or prerecorded
 10
            and/or artificial voice calls to Plaintiff’s cell phone placed by or on behalf of Network
 11
            Capital Funding Corporation.
 12
      26.   The FCC has also recognized that wireless customers are charged for incoming calls
 13
            whether they pay in advance or after the minutes are used. In re Rules and Regulations
 14
 15         Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,

 16         Report and Order, 18 FCC Red. 14014, 14115 (¶165) (2003).
 17   27.   Defendant Network Capital Funding Corporation is responsible for making or causing the
 18
            making of unsolicited, automated telemarketing and pre-recorded and/or artificial voice
 19
            calls. On information and belief, the purpose of the calls is to solicit persons for mortgage
 20
            services from Defendants.
 21

 22   28.   Defendant Network Capital Funding Corporation, as the entity whose product or services

 23         were advertised, derived economic benefit from the phone calls.

 24   29.   On information and belief, the unsolicited, automated telemarketing and pre-recorded
 25         and/or artificial voice calls were made as part of a mass broadcasting of automated,
 26
            unsolicited phone calls.
 27

 28

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  1   30.     On information and belief, Defendants have made unsolicited, automated telemarketing and
  2           pre-recorded and/or artificial voice calls to cellular phones of at least 40 other persons.
  3
      31.     There is no reasonable means for Plaintiff or other recipients of Defendants' unsolicited,
  4
              automated telemarketing and pre-recorded and/or artificial voice calls to avoid receiving
  5
              them.
  6

  7   32.     The TCPA was enacted to protect consumers from unsolicited phone calls exactly like those

  8           alleged in this case.

  9   33.     The calls were made to consumers who never requested to receive them, never engaged in
 10
              any interaction with Defendants and are made on a repeat basis without consent.
 11
      34.     Defendants either negligently or willfully violated the rights of Plaintiff and other recipients
 12
              in placing the calls or arranging for the calls to be made.
 13
            VI.   CAUSE OF ACTION – VIOLATION OF THE TELEPHONE CONSUMER
 14
                        PROTECTION ACT (“TCPA”), 47 U.S.C. §227, ET SEQ.
 15
      35.     Plaintiff incorporates by reference paragraphs 1-32 as if set forth herein in their entirety.
 16
      36.     The TCPA provides as follows at 47 U.S.C. § 227(b):
 17
                      “§ 227. Restrictions on use of telephone equipment
 18

 19                   ... (b) Restrictions on use of automated telephone equipment

 20                           (1) Prohibitions. It shall be unlawful for any person within the United States,
 21                               or any person outside the United States if the recipient is within the
 22
                                  United States-
 23
                                      (A) to make any call (other than a call made for emergency purposes
 24
                                      or made with the prior express consent of the called party) using any
 25

 26                                   automatic telephone dialing system or an artificial or prerecorded

 27                                   voice-

 28

                                                   7
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  1                                       (iii) to any telephone number assigned to a paging service,
  2                                       cellular telephone service, specialized mobile radio service,
  3
                                          or other radio common carrier service, or any service for
  4
                                          which the called party is charged for the call; ….”
  5
      37.   The TCPA, 47 U.S.C. § 227(b)(3) further provides:
  6

  7                “Private right of action. A person or entity may, if otherwise permitted by the laws

  8                or rules of court of a State, bring in an appropriate court of that State-

  9                        (A) an action based on a violation of this subsection or the regulations
 10
                           prescribed under this subsection to enjoin such violation,
 11
                           (B) an action to recover for actual monetary loss from such a violation, or
 12
                           to receive $500 in damages for each such violation, whichever is greater, or
 13
                           (C) both such actions.
 14
 15                If the Court finds that the defendant willfully or knowingly violated this subsection

 16                or the regulations prescribed under this subsection, the court may, in its discretion,
 17                increase the amount of the award to an amount equal to not more than 3 times the
 18
                   amount available under the subparagraph (B) of this paragraph.”
 19
      38.   Defendants and/or their agents violated the TCPA by using equipment that placed
 20
            automated calls to Plaintiff’s and the putative class member's cell phones.
 21

 22   39.   Defendants made unsolicited automated telemarketing calls to cellular telephone numbers

 23         belonging to Plaintiff and other members of the class.

 24   40.   By making unsolicited calls to Plaintiff and the class members, using an automated dialing
 25         system and without prior express consent, Defendants violated 47 U.S.C. §227(b)(l)(A)(iii).
 26
      41.   Plaintiff and the class members are entitled to statutory damages.
 27

 28

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  1   42.   Plaintiff and the putative class members suffered actual damages in the form of monies paid
  2         to receive the unsolicited robocalls, and their statutory right of privacy was invaded.
  3
      43.   Defendants should be enjoined from committing similar violations in the future.
  4
                                VII. CLASS ACTION ALLEGATIONS
  5
      44.   Class Definition: Pursuant to Fed. R. Civ. P. 23(a) and (b)(3), Plaintiff brings this action
  6

  7         on behalf of a nationwide class of similarly situated entities and individuals (“the Class”),

  8         defined as follows: (a) all persons or entities who, on or after a date four years prior to the

  9         filing of this action (28 U.S.C. § 1658), (b) received a telephone call made by or on behalf
 10
            of Defendant Network Capital Funding Corporation, (c) placed using an automated dialer
 11
            or featuring an artificial voice or pre-recorded message.
 12
      45.   Plaintiff reserves the right to modify the class definition as the contours and parameters of
 13
            the class become apparent through discovery in this matter.
 14
 15   46.   Excluded from the Class are: (1) Defendant Network Capital Funding Corporation,

 16         Defendants’ agents, subsidiaries, parents, successors, predecessors, and any entity in which
 17         Network Capital Funding Corporation or its parents have a controlling interest, and those
 18
            entities’ current and former employees, officers, and directors; (2) the Judge to whom this
 19
            case is assigned and the Judge’s immediate family; (3) any person who executes and files a
 20
            timely request for exclusion from the Class; (4) any persons who have had their claims in
 21

 22         this matter finally adjudicated and/or otherwise released; and (5) the legal representatives,

 23         successors and assigns of any such excluded person.

 24   47.   Direct Harm: Plaintiff and the members of the class were harmed by Defendants’ acts in
 25         at least the following ways: Defendants, either directly or through agents, illegally contacted
 26
            Plaintiff and the Class Members via their cellular telephones by using an “autodialer” or
 27
            “robodialer” or pre-recorded message or artificial voice, thereby causing Plaintiff and the
 28

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   1         members of each class to incur certain telephone charges or reduce cellular telephone time
   2         for which Plaintiff and the Class members previously paid; and Plaintiff and Class
   3
             members’ privacy were invaded.
   4
       48.   Numerosity: The exact number of class members is unknown and not available to Plaintiff
   5
             at this time, but it is clear that individual joinder is impracticable. Plaintiff alleges on
   6

   7         information and belief, that there are more than 40 members of the class. Class members

   8         can be identified through Defendants' and/or their agents' records, or by other means.

   9   49.   Typicality: Plaintiff 's claims are typical of the claims of other members of the classes, in
  10
             that Plaintiff and the class members sustained damages arising out of Defendants' uniform
  11
             wrongful conduct, including the making of unsolicited telephone calls.
  12
       50.   Adequacy of Representation: Plaintiff will fairly and adequately represent and protect the
  13
             interests of the classes, and has retained counsel competent and experienced in complex
  14
  15         class actions. Plaintiff has no interest antagonistic to those of the class members, and

  16         Defendants have no defenses unique to Plaintiff. The questions of law and fact common to
  17         the proposed Class predominate over any questions affecting only individual members of
  18
             the Class.
  19
       51.   Commonality and Predominance: There are questions of law and fact common to the
  20
             claims of Plaintiff and the class members, and those questions predominate over any
  21

  22         questions that may affect individual members of the class. These include:

  23         a. Whether the equipment Defendants used to place the calls in question was an automatic

  24            telephone dialing system as defined by the TCPA;
  25         b. Whether Defendants systematically made automated calls to persons without prior
  26
                express consent to receive such telephone calls;
  27

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   1         c. Whether Defendants utilized an artificial or pre-recorded voice in making the telephone
   2            calls;
   3
             d. Whether Defendants violated the TCPA;
   4
             e. Whether class members are entitled to damages, including treble damages based on the
   5
                willfulness of Defendants' conduct.
   6

   7   52.   Superiority: Class proceedings are superior to all other available methods for the fair and

   8         efficient adjudication of this controversy because joinder of all parties is impracticable. The

   9         damages suffered by the individual members of the class will likely be relatively small,
  10
             especially given the burden and expense of individual prosecution of the complex litigation
  11
             necessitated by Defendants' actions. Thus, it would be virtually impossible for the
  12
             individual members of the class to obtain effective relief from Defendants' misconduct.
  13
             Even if members of the class could sustain such individual litigation, it would still not be
  14
  15         preferable to a class action, because individual litigation would increase the delay and

  16         expense to all parties. By contrast, a class action presents far fewer management difficulties
  17         and provides the benefits of single adjudication, economy of scale, and comprehensive
  18
             supervision by a single Court. Economies of time, effort and expense will be fostered and
  19
             uniformity of decisions ensured.
  20
       53.   Uniform Relief Necessary: This class action is appropriate for class certification because
  21

  22         Defendants have acted or refused to act on grounds generally applicable to the Class as a

  23         whole, thereby requiring the Court's imposition of uniform relief to ensure compatible

  24         standards of conduct toward the Class and making an award of damages.
  25   54.   Management of this class action is likely to present significantly fewer difficulties than
  26
             those presented in many class actions, e.g., for securities fraud.
  27
       ///
  28

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   1                                         VIII. PRAYER FOR RELIEF
   2           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of
   3
       Plaintiff and the class as follows:
   4
                    a. An order certifying this matter as a class action with Plaintiff as Class
   5
                        Representative, and designating Edelman, Combs, Latturner & Goodwin, LLC and
   6

   7                    Lexicon Law, PC as Class Counsel;

   8                b. An award of statutory damages for each and every violation;

   9                c. Actual damages;
  10
                    d. An injunction restraining the conduct complied of;
  11
                    e. Cost of suit; and
  12
                    f. For such other and further relief as the Court deems necessary, just, and proper.
  13
                                           IX.   DEMAND FOR JURY TRIAL
  14
  15           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff, individually and on behalf of

  16   all others similarly situated, respectfully requests a trial by jury as to each and every claim for which
  17   it is so entitled.
  18
       ///
  19
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   1                                   NOTICE OF ASSIGNMENT
   2         Please be advised that all rights relating to attorney’s fees have been assigned to counsel.
   3

   4
       Date: November 30, 2020                             s/ John Habashy
   5                                                       John Habashy
   6                                                       Attorneys for Plaintiff and the Putative
   7                                                       Class

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   1                             DOCUMENT PRESERVATION DEMAND
   2          Plaintiff hereby demands that Defendants take affirmative steps to preserve all recordings,
   3
       data, documents, and all other tangible things that relate to plaintiff, the events described herein,
   4
       any third party associated with any telephone call, campaign, account, sale or file associated with
   5
       Plaintiff. These materials are likely very relevant to the litigation of this claim. If Defendants are
   6

   7   aware of any third party that has possession, custody, or control of any such materials, Plaintiff

   8   demands that Defendants request that such third party also take steps to preserve the materials. This

   9   demand shall not narrow the scope of any independent document preservation duties of the
  10
       Defendants.
  11

  12   Date: November 30, 2020                               s/ John Habashy
                                                             John Habashy
  13
                                                             Attorneys for Plaintiff and the Putative
  14
                                                             Class
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     Attorneys for Plaintiff
11
                         UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13

14
      LUCINE TRIM, individually,                Case No.: 2:21-cv-04975
      and on behalf of all others
15
      similarly situated
                                                COMPLAINT FOR DAMAGES
16                                              AND INJUNCTIVE RELIEF
                   Plaintiff,
                                                PURSUANT TO THE TELEPHONE
17                                              CONSUMER PROTECTION ACT,
                              V.
                                                47 U.S.C. §227, ET SEQ.
18
      GABRI ISLE LLC, and DOES 1                JURY TRIAL DEMANDED
19
      through 10, inclusive
20
                   Defendants.
21

22                                     INTRODUCTION

23
            1.    LUC1NE TRIM ("Plaintiff') bring this Class Action Complaint for
24
     damages, injunctive re1ief,and any other available legal or equitable remedies,
25
     resulting from the illegal actions of GABRI ISLE LLC ("Defendant"), in
26
     negligently contacting Plaintiff on Plaintiffs cellular telephone, in violation of the
27
     Telephone Consumer Protection Act, 47 U.S.C.       §227   et seq., ("TCPA"), thereby
28
                                                                                      Exhibit
                                                                                       0007
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 1   invading Plaintiff's privacy. Plaintiff alleges as follows upon personal knowledge

 2   as to herself and his own acts and experiences, and, as to all other matters, upon
 3   information and belief, including investigation conducted by their attorneys.
 4
              2.         The TCPA was designed to prevent calls and messages like the ones
 5
     described within this complaint, and to protect the privacy of citizens like Plaintiff.
 6
     "Voluminous consumer complaints about abuses of telephone technology                     -   for
 7
     example, computerized calls dispatched to private homes          -   prompted Congress to
 8
     pass the TCPA." Minis v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 9
              3.         In enacting the TCPA, Congress intended to give consumers achoice
10
     as to how creditors and telemarketers may call them, and made specific findings
11
     that "[t]eclmologies that might allow consumers to avoid receiving such calls are
12
     not universally available, are costly, are unlikely to be enforced, or place an
13

14
     inordinate burden on the consumer. TCPA, Pub.L. No. 102-243,                §11.   Toward this

15
     end, Congress found that
                         [b]anning such automated or prerecorded telephone calls
16
                         to the home, except when the receiving party consents to
17                       receiving the call or when such calls are necessary in an
                         emergency situation affecting the health and safety of the
18
                         consumer, is the only effective means of protecting
19                       telephone consumers from this nuisance and privacy
20
                         invasion.

21
     Id. at   §12;   see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
22
     3292838,      at*   4(N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA's
23
     purpose).
24
              4.         Congress also specifically found that "the evidence presented to the
25
     Congress indicates that automated or prerecorded calls are a nuisance and an
26
     invasion of privacy, regardless of the type of call...." Id. at        §§   12-13. See also,
27
     Minis, 132 S. Ct. at 744.
28




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 1         5.     In a recent decision, the Supreme Court interpreted the term

 2   "automatic telephone dialing system" and held that "[t]o qualify as an 'automatic
 3   telephone dialing system,' a device must have the capacity either to store a
 4
     telephone number using arandom or sequential generator or to produce atelephone
 5
     number using arandom or sequential number generator." Facebook, Inc. v. Duguid,
 6
     141 S.Ct. 1163 (2021) (emphasis added).
 7
           6.     In Duguid, the Supreme Court provided an example of such systems,
 8
     stating: "For instance, an autodialer might use a random number generator to
 9
     determine the order in which to pick phone numbers from apreproduced list. It
10
     would then store those numbers to be dialed at alater time." Id. at 1171-72 fn. 7.
11
           7.     Further, both Duguid and the legislative history of the TCPA are clear
12
     that the original focus on prerecorded voice technology prohibition was the fact
13
     that such communications involved agentless calls, not on the question of whether
14

15
     a literal voice was used during those agentless calls. See Hearing Before the

16   Subcommittee on Communications of the Committee on Commerce, Science and

17   Transportation, United States Senate One Hundred Second Congress First Session

18   July 24, 1992, Testimony of Robert Bulmash and Steve Hamm at pg 11; 7 FCC

19   Rcd. 8752 (F.C.C. September 17, 1992).

20         8.     The Sixth Circuit has also recognized this distinction: "Congress drew
21   an explicit distinction between 'automated telephone calls that deliver an artificial
22   or prerecorded voice message' on the one hand and 'calls place by 'live' persons'
23
     on the other." Ashland Hosp. Corp. v. Serv. Employees Int'l Union, Dist. 1199
24
     WV/KY/Of4 708 F.3d 737,743 (6th Cir. 2013).
25
           9.     Similarly, the FTC has observed that "prerecorded calls are by their
26
     very nature one-sided conversations, and if there is no opportunity for consumers
27
     to ask questions, offers may not be sufficiently clear for consumers to make
28
     informed choices before pressing abutton or saying yes to make apurchase." 73


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 1   FR 51164-01, 51167 (Aug. 29, 2008).

 2                                JulusificTIoN AND VENUE

 3         10.    Jurisdiction is proper under 28 U.S.C.   §1332(d) (2)   because Plaintiff,
 4
     aresident of California, seeks relief on behalf of aClass, which will result in at
 5
     least one class member belonging to adifferent state than that of Defendant, an
 6
     Illinois Corporation.    Plaintiff also seeks $1,500.00 in damages for each call in
 7
     violation of the TCPA, which, when aggregated among aproposed class in the
 8
     thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
 9
     Therefore, both diversity jurisdiction and the damages threshold under the Class
10
     Action Fairness Act of 2005 ("CAFA") are present, and this Court has jurisdiction.
11
           11.    Venue is proper in the United States District Court for the Central
12
     District of California pursuant to 28 U.S.C.    §1391(b)(1)   because Defendant is
13
     subject to personal jurisdiction in the County of Los Angeles, State of California.
14
                                           PARTIES
15

16         12.    Plaintiff is, and at all times mentioned herein was, anatural person

17   and citizen and resident of the State of California.    Plaintiff is, and at all times

18   mentioned herein was, a"person" as defined by 47 U.S.C.      §153(39).
19         13.    Defendant is, and at all times mentioned herein was, an online baby

20   clothing retail company, and is therefore a "person" as defined by 47 U.S.C.          §
21   153(39).
22         14.    The above named Defendant, and its subsidiaries and agents, are
23   collectively referred to as "Defendants."    The true names and capacities of the
24
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
25
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
26
     names. Each of the Defendants designated herein as aDOE is legally responsible
27
     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
28




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 1   Complaint to reflect the true names and capacities of the DOE Defendants when

 2   such identities become known.
 3         15.    Plaintiff is informed and believes that at all relevant times, each and
 4
     every Defendant was acting as an agent and/or employee of each of the other
 5
     Defendants and was acting within the course and scope of said agency and/or
 6
     employment with the full knowledge and consent of each of the other Defendants.
 7
     Plaintiff is informed and believes that each of the acts and/or omissions complained
 8
     of herein was made known to, and ratified by, each of the other Defendants.
 9
                                  FACTUAL ALLEGATIONS
10
           16.    At all times relevant, Plaintiff was a citizen of the County of Los
11
     Angeles, State of California. Plaintiff is, and at all times mentioned herein was, a
12
     "person" as defined by 47 U.S.C.   §153(39).
13
           17.    Defendant is, and at all times mentioned herein was, a"person," as
14

15
     defined by 47 U.S.C.   §153(39).

16         18.    At all times relevant Defendant conducted business in the State of

17   California and in the County of Los Angeles, within this judicial district.

18         19.    On or about June 6, 2020, Plaintiff received an unsolicited text

19   message from Defendant on her cellular telephone, number ending in -2347.

20         20.    Defendant sent Plaintiff the spam advertisement and/or promotional

21   offer from aphone number owned or controlled by Defendant, (833) 272-2428.
22         21.    The text sent by Defendant on June 6, 2020 read:
23                      Gabri Isle: Welcome to the
24
                        Gabri Isle Family! Use code
25
                        MOMLOVE         for   30%      OFF
26
                        your         next             order:
27
                        https://gabriisle.djmj .io/zNGN
28
                        elEz    Msg&data      rates    may


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 1                       apply.   Msg     frequency    is

 2                       recurring.   Reply   HELP    for
 3                       help, STOP to cancel
 4
           22.    On or about June 7, 2020, Defendant notified Plaintiff to stop
 5
     contacting her, but Plaintiff ignored this request and sent an additional solicitation
 6
     text message to Plaintiff on July 3, 2020.
 7
           23.    As evidenced by Defendant's messages, Plaintiff was not interacting
 8
     with alive agent but rather an agentless text blast generated by acomputer.
 9
           24.    Moreover, the messages sent to Plaintiff was drafted in advance and
10
     sent out automatically based on pre-programmed parameters.
11
           25.    The text messages sent to Plaintiff's cellular telephone were placed
12
     via Defendant's SMS Blasting Platform, i.e., an "automatic telephone dialing
13

14
     system," ("ATDS") as defined by 47 U.S.C.     §227(a)(1)   as prohibited by 47 U.S.C.

15
     §227(b)(l)(A).

16         26.    The text messages sent to Plaintiff's cellular telephone were not sent

17   by alive agent and thus created aone-sided conversation in which Plaintiff could

18   not receive aresponse to her questions and/or concerns. The text messages also

19   were sent in an automated fashion as aresult of computerized campaigns that were

20   pre-programmed in advance to send messages out to large groups of consumers all
21   at once, either sequentially or via algorithmic dialing, i.e. in an automated fashion
22   by acomputer.
23
           27.    In Mirriam Webster's Dictionary "voice" is defined as "an instrument
24
     or medium of expression." It defines "artificial" as "humanly contrived.. .often on
25
     anatural model    MAN-MADE" and "lacking in natural or spontaneous quality."
26
           28.    The messages sent to Plaintiff by Defendant using the SMS blasting
27
     platform employed atext message as an instrument or medium of expression to
28
     deliver an automatic message drafted in advance of being sent, i.e. that of an SMS


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 1   message, to convey atelemarketing communication to Plaintiff. The SMS blasting

 2   platform is aman made humanly contrived program which allows companies to
 3   blast out such messages via non-spontaneous methods, i.e. automated methods
 4
     similar to that of an assembly line in afactory.        Such SMS blasting devices are
 5
     incapable of spontaneity, as they must be programmed by the operator to
 6
     automatically   send messages      out,   en   masse,    pursuant to   preprogrammed
 7
     parameters.
 8
           29.     Accordingly, Defendant's messages utilized an "artificial voice" as
 9
     prohibited by 47 U.S.C.   §227(b)(l)(A).
10
           30.     Mirriam Webster's Dictionary, "prerecorded" is defined as "recorded
11
     in advance." "Recorded" is defined as "to set down in writing." The text messages
12
     sent to Plaintiffs cellular telephone via the SMS blasting platform were set down
13
     in writing in advance by Defendant, whose employees wrote out the standard
14

15
     automated messages that were to be sent to Plaintiff and other class members, and

16   by way of preprogrammed SMS blasting, entered the prerecorded message into the

17   SMS Blasting platform, and thereafter sent these messages pursuant to scheduled

18   blasts that were programmed by Defendant.         Thus, Defendant employed a text

19   message as an instrument or medium of expression to deliver a prerecorded

20   message drafted in advance of being sent.
21         31.     Thus, Defendant's messages utilized a "prerecorded voice" as
22   prohibited by 47 U.S.C.   §227(b)(l)(A).
23
           32.     The telephone number that Defendant, or their agent, messaged was
24
     assigned to a cellular telephone service for which Plaintiff incurs a charge for
25
     incoming calls and messages pursuant to 47 U.S.C.        §227(b)(1).
26
           33.     These messages constituted "calls" that were not for emergency
27
     purposes as defined by 47 U.S.C.   §227(b)(l')(A)(i).
28




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 1         34.    Plaintiff was never acustomer of Defendant's and never provided her

 2   cellular telephone number Defendant for any reason whatsoever. Accordingly,
 3   Defendant and their agent never received Plaintiffs prior express consent to
 4
     receive unsolicited text messages, pursuant to 47 U.S.C.    §227(b)(l)(A).
 5
           35.    These messages by Defendant, or its agents, violated 47 U.S.C.          §
 6
     227(b)(1).
 7
                                CLASS ACTION ALLEGATIONS
 8
           36.    Plaintiff brings this action on behalf of herself and on behalf of and all
 9
     others similarly situated ("the class").
10
           37.    Plaintiff represents, and is amember of the class, consisting of all
11
     persons within the United States who received any unsolicited text messages placed
12
     using an automatic telephone dialing system and/or an artificial or prerecorded
13
     voice from Defendant and which text message was not made for emergency
14

15
     purposes or with the recipient's prior express consent within the four years prior to

16   the filing of this Complaint through the date of class certification.

17         38.    Defendant and their employees or agents are excluded from the Class.

18   Plaintiff does not know the number of members in the Class but believes the Class

19   members number in the hundreds of thousands, if not more.           Thus, this matter

20   should be certified as aClass action to assist in the expeditious litigation of this

21   matter.
22         39.    Plaintiff and members of the Class were harmed by the acts of
23   Defendant in at least the following ways: Defendant, either directly or though their
24
     agents, illegally contacted Plaintiff and the Class members via their cellular
25
     telephones by using marketing and text messages, thereby causing Plaintiff and the
26
     Class members to incur certain cellular telephone charges or reduce cellular
27
     telephone time for which Plaintiff and the Class members previously paid, and
28




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 1   invading the privacy of said Plaintiff and the Class members. Plaintiff and the Class

 2   members were damaged thereby.
 3         40.    This suit seeks only damages and injunctive relief for recovery of
 4
     economic injury on behalf of the Class, and it expressly is not intended to request
 5
     any recovery for personal injury and claims related thereto. Plaintiff reserves the
 6
     right to expand the Class definition to seek recovery on behalf of additional persons
 7
     as warranted as facts are learned in further investigation and discovery.
 8
           41.    The joinder of the Class members is impractical and the disposition of
 9
     their claims in the Class action will provide substantial benefits both to the parties
10
     and to the court.   The Class can be identified through Defendant's records or
11
     Defendant's agent's records.
12
           42.    There is awell-defined community of interest in the questions of law
13
     and fact involved affecting the parties to be represented. The questions of law and
14

15
     fact to the Class predominate over questions which may affect individual Class

16   members, including the following:

17          a)    Whether, within the four years prior to the filing of this Complaint

18                through the date of class certification, Defendant or their agents sent

19                any text messages (other than a message made for emergency

20                purposes or made with the prior express consent of the called party)
21                to aClass member using any automatic telephone dialing system or an
22                artificial or prerecorded voice to any telephone number assigned to a
23
                  cellular phone service;
24
            b)    Whether Plaintiff and the Class members were damaged thereby, and
25
                  the extent of damages for such violation; and
26
            c)    Whether Defendant and their agents should be enjoined from
27
                  engaging in such conduct in the future.
28




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 1            43.    As aperson that received at least one marketing and text message

 2   without Plaintiffs prior express consent, Plaintiff is asserting claims that are
 3   typical of the Class. Plaintiff will fairly and adequately represent and protect the
 4
     interests of the Class in that Plaintiff has no interests antagonistic to any member
 5
     of the Class.
 6
              44.    Plaintiff and the members of the Class have all suffered irreparable
 7
     harm as aresult of the Defendant's unlawful and wrongful conduct. Absent aclass
 8
     action, the Class will continue to face the potential for irreparable harm.         In
 9
     addition, these violations of law will be allowed to proceed without remedy and
10
     Defendant will likely continue such illegal conduct.     Because of the size of the
11
     individual Class member's claims, few, if any, Class members could afford to seek
12
     legal redress for the wrongs complained of herein.
13
              45.    Plaintiff has retained counsel experienced in handling class action
14

15
     claims and claims involving violations of the Telephone Consumer Protection Act.

16            46.    A class action is a superior method for the fair and efficient

17   adjudication of this controversy.      Class-wide damages are essential to induce

18   Defendant to comply with federal and California law.          The interest of Class

19   members in individually controlling the prosecution of separate claims against

20   Defendant are small because the maximum statutory damages in an individual
21   action for violation of privacy are minimal. Management of these claims is likely
22   to present significantly fewer difficulties than those presented in many class claims.
23
              47.    Defendant has acted on grounds generally applicable to the Class,
24
     thereby making appropriate final injunctive relief and corresponding declaratory
25
     relief with respect to the Class as awhole.
26
     I/I
27
     I/I
28
     I/I


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 1                                  FIRST CAUSE OF ACTION

 2    NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

 3                                   47 U.S.C.   §227 ET SEQ.
 4
            48.     Plaintiff incorporates by reference all of the above paragraphs of this
 5
     Complaint as though fully stated herein.
 6
            49.     The foregoing acts and omissions of Defendant constitute numerous
 7
     and multiple negligent violations of the TCPA, including but not limited to each
 8
     and every one of the above-cited provisions of 47 U.S.C.     §227   et seq.
 9
              50.   As aresult of Defendant's negligent violations of 47 U.S.C.    §227   et
10
     seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory
11
     damages, for each and every violation, pursuant to 47 U.S.C.     §227(b)(3)(B).
12
              51.   Plaintiff and the Class are also entitled to and seek injunctive relief
13
     prohibiting such conduct in the future.
14
                                   SECOND CAUSE OF ACTION
15

16                     KNOWING AND/OR WILLFUL VIOLATIONS OF THE


17                         TELEPHONE CONSUMER PROTECTION ACT

18                                   47 U.S.C.   §227 ET SEQ.
19            52.   Plaintiff incorporates by reference all of the above paragraphs of this

20   Complaint as though fully stated herein.

21            53.   The foregoing acts and omissions of Defendant constitute numerous
22   and multiple knowing and/or willful violations of the TCPA, including but not
23   limited to each and every one of the above-cited provisions of 47 U.S.C.      §227   et
24
     seq.
25
              54.   As aresult of Defendant's knowing and/or willful violations of 47
26
     U.S.C.    §227   et seq, Plaintiff and The Class are entitled to an award of $1,500.00
27
     in statutory damages, for each and every violation, pursuant to 47 U.S.C.            §
28
     227(b)(3)(B) and 47 U.S.C.     §227(b)(3)(C).

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 1         55.    Plaintiff and the Class are also entitled to and seek injunctive relief

 2   prohibiting such conduct in the future.
 3                                     PRAYER FOR RELIEF

 4
           Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
 5
     Class members the following relief against Defendant:
 6
                 FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
 7
                              THE   TCPA, 47 U.S.C.   §227 ET SEQ.
 8
           • As aresult of Defendant's negligent violations of 47 U.S.C.      §227(b)(1),
 9
              Plaintiff seeks for herself and each Class member $500.00 in statutory
10
              damages, for each and every violation, pursuant to 47 U.S.C.               §
11
              227(b)(3)(B).
12
           • Pursuant to 47 U.S.C.      §227(b)(3)(A),   injunctive relief prohibiting such
13
              conduct in the future.
14

15
           • Any other relief the Court may deem just and proper.

                 SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
16

17                            THE   TCPA, 47 U.S.C.   §227 ET SEQ.
18         • As aresult of Defendant's negligent violations of 47 U.S.C.      §227(b)(l),
19            Plaintiff seeks for herself and each Class member $1500.00 in statutory

20            damages, for each and every violation, pursuant to 47 U.S.C.               §
21            227(b)(3)(B).
22         • Pursuant to 47 U.S.C.      §227(b)(3)(A),   injunctive relief prohibiting such
23
              conduct in the future.
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           • Any other relief the Court may deem just and proper.
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 1                                     TRIAL BY JURY

 2         56.    Pursuant to the seventh amendment to the Constitution of the United
 3   States of America, Plaintiff is entitled to, and demands, atrial by jury.
 4

 5

 6   Dated: June 18, 2021                                 Respectfully submitted,

 7

 8                                     THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.

 9

10
                                                               By: Is! Todd M. Friedman
11                                                             TODD   M.   FRIEDMAN, ESQ.

                                                               ATTORNEY FOR PLAINTIFF
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 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
     TRACY EGGLESTOB, MONICA                          Case No.: 2:20-cv-0 1027
12   ABBOUD, and LUCINE TRIM
     individually and on behalf of all others         CLASS ACTION
13   similarly situated,
                                                      FIRST AMENDED COMPLAINT
14                    Plaintiffs,                     FOR DAMAGES AND
                                                      INJUNCTIVE RELIEF PURSUAN
15                                                    TO THE TELEPHONE
                             V.
                                                      CONSUMER PROTECTION ACT
16                                                    47 U.S.C. §227, ET SEQ.
      REWARD ZONE USA LLC; DOES
17    1-10 Inclusive,                                 JURY TRIAL DEMANDED

18
                   Defendant.
19

20                                        INTRODUCTION
21         1.    TRACY            EGGLESTON       ("Eggleston"),   MONICA        ABBOUD

22   ("Abboud"), and LUCINE TRIM ("Trim") (collectively, "Plaintiffs"), bring this
23   First Amended Class Action Complaint for damages, injunctive relief, and any
24   other available legal or equitable remedies, resulting from the illegal actions of
25   REWARD ZONE USA LLC ("Defendant"), in negligently contacting Plaintiffs on
26   Plaintiffs' cellular telephones, in violation of the Telephone Consumer Protection
27   Act, 47 U.S.C.     §227      et seq., ("TCPA"), thereby invading Plaintiffs' privacy.
28   Plaintiffs allege as follows upon personal knowledge as to themselves



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 1   own acts and experiences, and, as to all other matters, upon information and belief,

 2   including investigation conducted by their attorneys.

 3         2.       The TCPA was designed to prevent calls and messages like the ones

 4   described within this complaint, and to protect the privacy of citizens like Plaintiffs.

 5   "Voluminous consumer complaints about abuses of telephone technology               -    for

 6   example, computerized calls dispatched to private homes       -   prompted Congress to

 7   pass the TCPA." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

 8         3.       In enacting the TCPA, Congress intended to give consumers achoice

 9   as to how creditors and telemarketers may call them, and made specific findings

10   that "[t]eclmologies that might allow consumers to avoid receiving such calls and

11   messages are not universally available, are costly, are unlikely to be enforced, or

12   place an inordinate burden on the consumer.        TCPA, Pub.L. No. 102-243,           §11.
13   Toward this end, Congress found that

14

15                  [b]anning such automated or prerecorded telephone calls to the home,
                    except when the receiving party consents to receiving the call or when
16                  such calls are necessary in an emergency situation affecting the health
17                  and safety of the consumer, is the only effective means of protecting
18                  telephone consumers from this nuisance and privacy invasion.


19         Id. at   §12;   see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
20   WL 3292838,      at*   4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on

21   TCPA's purpose).

22         4.       Congress also specifically found that "the evidence presented to the

23   Congress indicates that automated or prerecorded calls are a nuisance and an

24   invasion of privacy, regardless of the type of call...." Id. at     §§   12-13. See also,
25   Mims, 132 S. Ct. at 744.

26         5.       As Judge Easterbrook of the Seventh Circuit recently explained in a

27   TCPA case regarding calls to anon-debtor similar to this one:
28




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 1
           The Telephone Consumer Protection Act        is well known for its provisions
                                                           ...




           limiting junk-fax transmissions. A less-litigated part of the Act curtails the
 2         use of automated dialers and prerecorded messages to cell phones, whose
 3         subscribers often are billed by the minute as soon as the call is answered—
           and routing acall to voicemail counts as answering the call. An automated
 4
           call to alandline phone can be an annoyance; an automated call to acell phone
 5         adds expense to annoyance. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d
           637, 638 (7th Cir. 2012).
 6

 7
            6.       The Ninth Circuit recently affirmed certification of aTCPA class case
 8
     remarkably similar to this one in Meyer v. Portfolio Recovery Associates, LLC,
 9
     F.3d, 2012 WL 4840814          (9th   Cir. Oct. 12, 2012).
10
                                       JURISDICTION AND VENUE
11
            7.       Jurisdiction is proper under 28 U.S. C.     §1332(d) (2) because Plaintiffs,
12
     both residents of California, seek relief on behalf of aClass, which will result in at
13
     least one class member belonging to a different state than that of Defendant, a
14
     Delaware limited liability company. Plaintiffs also seek $1,500.00 in damages for
15
     each call in violation of the TCPA, which, when aggregated among aproposed
16
     class in the thousands, exceeds the $5,000,000.00 threshold for federal court
17
     jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under
18
     the Class Action Fairness Act of 2005 ("CAFA") are present, and this Court has
19
     jurisdiction.
20
            8. Venue is proper in the United States District Court for the Central District
21
     of California pursuant to 18 U.S.C.        §1391(b)   and 1441(a) because Defendant is
22   subject to personal jurisdiction in the County of Los Angeles, State of California.
23                                                 PARTIES

24          9. Plaintiffs are, and at all times mentioned herein, were citizens and
25   residents of the State of California. Plaintiffs are, and at all times mentioned herein
26   were, "persons" as defined by 47 U.S.C.        §153   (39).
27          10.      Plaintiffs are informed and believe, and thereon allege, that Defendant
28   is alimited liability company of the state of Delaware. Defendant, and all of its



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 1   agents, are and at all times mentioned herein were "persons," as defined by 47

 2   U.S.C.      §153   (39).   Plaintiffs allege that at all times relevant herein Defendant

 3   conducted business in the State of California and in the County of Los Angeles,

 4   and within this judicial district.

 5                                     FACTUAL ALLEGATIONS

 6            11.   At all times relevant, Plaintiffs were citizens of Ventura County and

     Los Angeles county, respectively, and citizens of the State of California. Plaintiffs

 8   are, and at all times mentioned herein were, "persons" as defined by 47 U.S.C.        §
     153 (39).

10            12.   Defendant is, and at all times mentioned herein was, a"person," as

11   defined by47 U.S.C.        §153   (39).

12            13.   At all times relevant Defendant conducted business in the State of

13   California and in the Counties of Ventura and Los Angeles, within this judicial

14   district.

15            14.   On or about September of 2018, Abboud received atext message from

16   Defendant on her cellular telephone, number ending in -3711.

17            15.   On or about November 4, 2019, Eggleston received atext message
18   from Defendant on her cellular telephone, number ending in -0318.

19            16.   On or about April 14, 2020, Trim received a text message from

20   Defendant on her cellular telephone number ending in -2347
21            17.   During this time,          Defendant began to use Plaintiffs'    cellular

22   telephones for the purpose of sending Plaintiffs spam advertisements and/or

23   promotional offers, via text messages.

24            18.   On or before September 14, 2018, Abboud started receiving frequent
25   text messages from Defendant that sought to solicit its "rewards" and other

26   associated promotions to Abboud.

27            19.   Abboud, upon receipt of these messages, responded to Defendant's

28   text message notification by replying "Remove me" and/or "Stop".               Abboud




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 1   responded in this way on multiple instances after receipt of Defendant's text

 2   messages.
 3         20.       At that point, Abboud had withdrawn any consent Defendant might
 4
     have believed Defendant had prior to that point.             Despite Abboud's responses,
 5
     Defendant continued to send unwanted text messages to Abboud.
 6
           21.       These text messages placed to Plaintiffs' cellular telephones were
 7
     placed via an "automatic telephone dialing system," ("ATDS") as defined by 47
 8
     U.S.C.   §227   (a)(1) as prohibited by 47 U.S.C.   §227     (b)(1)(A).
 9
           22.       The telephone numbers that Defendant, or their agent texted were
10
     assigned to a cellular telephone service for which Plaintiffs incur charges for
11
     incoming texts pursuant to 47 U.S.C.    §227    (b)(l).
12         23.       These text messages constituted texts that were not for emergency
13   purposes as defined by 47 U.S.C.     §227   (b)(1')(A)(i).
14         24.       Plaintiffs were never customers of Defendant and never provided their
15   cellular telephone numbers to Defendant for any reason whatsoever. Accordingly,
16   Defendant and their agents never received Plaintiffs' prior express consent to
17   receive unsolicited text messages, pursuant to 47 U.S.C.         §227   (b)(1)(A).
18         25.       These text messages by Defendant, or its agents, violated 47 U.S.C.    §
19   227(b)(1).
20                               CLASS ACTION ALLEGATIONS

21         26.       Plaintiffs bring this action on behalf of themselves and on behalf of
22   and all others similarly situated ("the class").
23         27.       Plaintiffs represent, and are members of the class, consisting of all
24   persons within the United States who received any unsolicited text messages from
25   Defendant which text message was not made for emergency purposes or with the
26   recipient's prior express consent within the four years prior to the filing of this

27   Complaint.

28




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 1         28.      Defendant and their employees or agents are excluded from the Class.

 2   Plaintiffs do not know the number of members in the Class, but believe the Class

 3   members number in the hundreds of thousands, if not more.          Thus, this matter

 4   should be certified as aClass action to assist in the expeditious litigation of this

 5   matter.

 6         29.      Plaintiffs and members of the Class were harmed by the acts of

 7   Defendant in at least the following ways: Defendant, either directly or though their

 8   agents, illegally contacted Plaintiffs and the Class members via their cellular

 9   telephones by using marketing and text messages, thereby causing Plaintiffs and

10   the Class members to incur certain cellular telephone charges or reduce cellular

11   telephone time for which Plaintiffs and the Class members previously paid, and

12   invading the privacy of said Plaintiffs and the Class members. Plaintiffs and the

13   Class members were damaged thereby.

14         30.      This suit seeks only damages and injunctive relief for recovery of

15   economic injury on behalf of the Class, and it expressly is not intended to request

16   any recovery for personal injury and claims related thereto. Plaintiffs reserve the

17   right to expand the Class definition to seek recovery on behalf of additional persons

18
     as warranted as facts are learned in further investigation and discovery.

19
           31.      The joinder of the Class members is impractical and the disposition of

20
     their claims in the Class action will provide substantial benefits both to the parties

21
     and to the court.    The Class can be identified though Defendant's records or

     Defendant's agents' records.
22
           32.      There is awell-defined community of interest in the questions of law
23
     and fact involved affecting the parties to be represented. The questions of law and
24
     fact to the Class predominate over questions which may affect individual Class
25
     members, including the following:
26

27
               a)   Whether, within the four years prior to the filing of this Complaint,
28                  Defendant or their agents sent any text messages to the Class (other



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 1
                     than amessage made for emergency purposes or made with the prior
                     express consent of the called party) to a Class member using any
 2                   automatic dialing system to any telephone number assigned to a
 3                   cellular phone service;
            b)       Whether Plaintiffs and the Class members were damaged thereby, and
 4
                     the extent of damages for such violation; and
 5          c)       Whether Defendant and their agents should be enjoined from
                     engaging in such conduct in the future.
 6

 7
           33.       As aperson that received at least one marketing and text message
 8
     without Plaintiffs' prior express consent, Plaintiffs are asserting claims that are
 9
     typical of the Class. Plaintiffs will fairly and adequately represent and protect the
10
     interests of the Class in that Plaintiffs have no interests antagonistic to any member
11
     of the Class.
12
           34.       Plaintiffs and the members of the Class have all suffered irreparable
13
     harm as aresult of the Defendant's unlawful and wrongful conduct. Absent aclass
14
     action, the Class will continue to face the potential for irreparable harm.         In
15
     addition, these violations of law will be allowed to proceed without remedy and
16
     Defendant will likely continue such illegal conduct.      Because of the size of the
17
     individual Class member's claims, few, if any, Class members could afford to seek
18
     legal redress for the wrongs complained of herein.
19
           35.       Plaintiffs have retained counsel experienced in handling class action
20
     claims and claims involving violations of the Telephone Consumer Protection Act.
21
           36.       A class action is a superior method for the fair and efficient
22   adjudication of this controversy.      Class-wide damages are essential to induce
23   Defendant to comply with federal and California law.          The interest of Class
24   members in individually controlling the prosecution of separate claims against
25   Defendant are small because the maximum statutory damages in an individual
26   action for violation of privacy are minimal. Management of these claims is likely
27   to present significantly fewer difficulties than those presented in many class claims.
28




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 1          37.   Defendant have acted on grounds generally applicable to the Class,

 2 thereby making appropriate final injunctive relief and corresponding declaratory

 3 relief with respect to the Class as awhole.

 4
 5                         FIRST CAUSE OF ACTION
      NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 6                                   47 U.S.C.   §227 ET SEQ.
 7          38.   Plaintiffs incorporate by reference all of the above paragraphs of this

 8 Complaint as though fully stated herein.

 9          39.   The foregoing acts and omissions of Defendant constitute numerous

10   and multiple negligent violations of the TCPA, including but not limited to each

11   and every one of the above-cited provisions of 47 U.S.C.      §227   et seq.

12          40.   As aresult of Defendant's negligent violations of 47 U.S.C.       §227   et

13   seq, Plaintiffs and The Class are entitled to an award of $500.00 in statutory

14   damages, for each and every violation, pursuant to 47 U.S.C.      §227(b)(3)(B).
15          41.      Plaintiffs and the Class are also entitled to and seek injunctive relief

16   prohibiting such conduct in the future.

17
18                              SECOND CAUSE OF ACTION
                        KNOWING AND/OR WILLFUL VIOLATIONS OF THE
19                        TELEPHONE CONSUMER PROTECTION ACT
20                                   47 U.S.C.   §227 ET SEQ.
21          42.   Plaintiffs incorporate by reference all of the above paragraphs of this

22   Complaint as though fully stated herein.

23          43.   The foregoing acts and omissions of Defendant constitute numerous

24   and multiple knowing and/or willful violations of the TCPA, including but not

25   limited to each and every one of the above-cited provisions of 47 U.S.C.       §227   et

26   seq.
27          44.   As a result of Defendant's knowing and/or willful violations of 47

28   U.S.C.   §227   et seq, Plaintiffs and The Class are entitled to an award of $1,500.00




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 1 in statutory damages, for each and every violation, pursuant to 47 U.S.C.              §
 2 227(b)(3)(B) and 47 U.S.C.      §227(b)(3)(C).
 3         45.    Plaintiffs and the class are also entitled to and seek injunctive relief

 4 prohibiting such conduct in the future.

 5                                      PRAYER FOR RELIEF

 6         Wherefore, Plaintiffs respectfully request the court grant Plaintiffs, and The

     Class members the following relief against Defendant:

 8
 9               FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                             THE TCPA, 47 U.S.C.    §227 ET SEQ.
10         •   As aresult of Defendant's negligent violations of 47 U.S.C.     §227(b)(1),
11             Plaintiffs seek for themselves and each Class member $500.00 in statutory
               damages, for each and every violation, pursuant to 47 U.S.C.               §
12             227(b)(3)(B).
13         •   Pursuant to 47 U.S.C.     §227(b)(3)(A),   injunctive relief prohibiting such
14             conduct in the future.
           • Any other relief the Court may deem just and proper.
15

16               SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
17                           THE TCPA, 47 U.S.C.    §227 ET SEQ.
           • As aresult of Defendant's negligent violations of 47 U.S.C.       §227(b)(l),
18             Plaintiffs seek for themselves and each Class member $1500.00 in
19             statutory damages, for each and every violation, pursuant to 47 U.S.C.      §
               227(b)(3)(B).
20         •   Pursuant to 47 U.S.C.     §227(b)(3)(A),   injunctive relief prohibiting such
21             conduct in the future.
22         •   Any other relief the Court may deem just and proper.


23                                        TRIAL BY JURY

24         46.    Pursuant to the seventh amendment to the Constitution of the United

25   States of America, Plaintiffs are entitled to, and demand, atrial by jury.
26

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     Dated: April 20, 2020                             Respectfully submitted,
 1

 2                                 THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3
                                                   By:    Is! Todd M. Friedman
 4
                                                           TODD M .FRIEDMAN, ESQ.
 5                                                         ATTORNEY FOR PLAINTIFFS

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 7     Attorneys for Plaintiffs,
 8
                          UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
       LUCINE TRIM, individually and on )           Case No. 2:19-CV-10751-DDP-AGR
11
       behalf of all others similarly situated, )
12                                              )   CLASS ACTION
13     Plaintiff,                               )
                                                )   FIRST AMENDED COMPLAINT
14            vs.                               )   FOR VIOLATIONS OF:
15                                              )
                                                )   1. NEGLIGENT VIOLATIONS OF
16                                                     THE TELEPHONE CONSUMER
       HIGHER LEVEL PROCESSING                  )      PROTECTION ACT [47 U.S.C.
17     INC.; BREA FINANCIAL GROUP, )                   §227 ET SEQ.]
       LLC, THE, D/B/A PUB CLUB                 )   2. WILLFUL VIOLATIONS OF THE
18                                                     TELEPHONE CONSUMER
       LEADS; DOES 1 through 10,                )      PROTECTION ACT [47 U.S.C.
19     inclusive,                               )      §227 ET SEQ.]
20                                              )
       Defendants.                              )   DEMAND FOR JURY TRIAL
21
                                                )
22           Plaintiff, LUCINE TRIM (formerly Lucine Alsuliman, and hereinafter
23     “Plaintiff”), individually and all others similarly situated, alleges the following
24     upon information and belief based upon personal knowledge:
25                                NATURE OF THE CASE
26
             1.     Plaintiff brings this action individually and on behalf of all others
27
       similarly situated seeking damages and any other available legal or equitable
28
       remedies resulting from the illegal actions of Defendants HIGHER LEVEL


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 1     PROCESSING INC. (hereinafter “HIGHER LEARNING”) and BREA
 2     FINANCIAL GROUP, LLC, THE, d/b/a PUB CLUB LEADS (hereinafter “BREA
 3     GROUP”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 4     Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 5     Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 6                                 JURISDICTION & VENUE
 7           2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 8     a resident of California, seeks relief on behalf of a Class, which will result in at
 9     least one class member belonging to a different state than that of Defendant, a
10     company with its principal place of business and State of Incorporation in
11     California state. Plaintiff also seeks up to $1,500.00 in damages for each call in
12     violation of the TCPA, which, when aggregated among a proposed class in the
13     thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
14     Therefore, both diversity jurisdiction and the damages threshold under the Class
15     Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
16           3.     Venue is proper in the United States District Court for the Central
17     District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
18     because Defendant does business within the state of California and Plaintiff resides
19     within this District.
20                                          PARTIES
21           4.     Plaintiff is a natural person residing in Los Angeles County of the state
22     of California and is a “person” as defined by 47 U.S.C. § 153 (10).
23           5.     HIGHER LEARNING is an educational consulting company and is a
24     “person” as defined by 47 U.S.C. § 153 (10).
25           6.     BREA GROUP is a company in the business of marketing and
26     research, including offering lead generation services for businesses, and is a
27     “person” as defined by 47 U.S.C. § 153(39).
28           7.     Hereinafter, the above named Defendants, and their subsidiaries and


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 1     agents, are collectively referred to as “Defendants.” The true names and capacities
 2     of the Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 3     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 4     names. Each of the Defendants designated herein as a DOE is legally responsible
 5     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 6     Complaint to reflect the true names and capacities of the DOE Defendants when
 7     such identities become known.
 8            8.     Plaintiff is informed and believes that at all relevant times, each and
 9     every Defendant was acting as an agent and/or employee of each of the other
10     Defendants and was acting within the course and scope of said agency and/or
11     employment with the full knowledge and consent of each of the other Defendants.
12     Plaintiff is informed and believes that each of the acts and/or omissions complained
13     of herein was made known to, and ratified by, each of the other Defendants.
14                                 FACTUAL ALLEGATIONS
15            9.     Beginning on or around October 19, 2018, HIGHER LEARNING
16     contacted Plaintiff on her cellular telephone, ending in -2347, in an effort to sell or
17     solicit its services.
18            10.    On information and belief, HIGHER LEARNING hired BREA
19     GROUP to generate leads on HIGHER LEARNING’s behalf. That is, HIGHER
20     LEARNING hired BREA GROUP to provide contact information of potential
21     leads with whom HIGHER LEARNING might solicit services. HIGHER
22     LEARNING would call Plaintiff and others similarly situated based on leads
23     generated by BREA GROUP.
24            11.    BREA GROUP had knowledge that the leads it sold to HIGHER
25     LEARNING would likely be used to place calls for solicitation purposes in a
26     manner that implicated the Telephone consumer protection act, including to
27     persons whose phone numbers were on the Do Not Call registry, and to consumer
28     cellular phones with an automatic telephone dialing system.


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 1           12.    The leads were sold to HIGHER LEARNING and other companies
 2     for the express purpose of providing a TCPA compliant lead, i.e. one in which there
 3     was prior express written consent and/or an established business relationship.
 4           13.    On information and belief, such representations were made to
 5     HIGHER LEARNING by BREA GROUP, who hires publishers to create websites
 6     that “generate” opt in information. However, these publishers and their websites
 7     do not in fact generate legitimate opt in data, and instead, the websites are a sham
 8     whereby publishers, hired by BREA GROUP, obtain consumer data through
 9     alternative means, for the purpose of laundering such consumer data and thereby
10     manufacturing prior express consent.
11           14.    For example, BREA GROUP represents that Plaintiff visited website
12     www.studentloancenter.org and provided her written consent to opt into the
13     website. The website shows the following web portal:
14
15
                   Reduce   or Even Eliminate                 Limited Time OAeri
16                   Your Student Loan Dtht                  Student Loan Reduction
                                                                     Matchup Service
17
                     Thank You for the Submission!
                                                         Don't Gamble With Your Future
18                 Our representative will contact you
                                                                 Take Our Survey Now
                                shortly.
19
                                Go Back                         First Name,


20                                                              Last Name:


                                                                     Phone,

21                                                                    State:   Select a State

                                                         By ditiong the Matdi Me Near Iprovide my, express
22                                                       written consent to contact me at the nuroter(s) I
                                                         entered or provide later,lnvoving orters suth as
                                                          Student loan Consolidation, Debt Settlement, Debt

23                                                       Consoildalion, Credit Repair, Home Secunty, Auto
                                                         Warranty. TraveIfriniesare Offers) and other Into from
                                                         studentioaneilmlnatlonceotero.'g along with Its
                                                         marketing partners fisted here using an automated

24                                                       telephone dialing tystam and/or an artificial or
                                                         prerecorded voice, text message. or emaIl and Iam
                                                         not reguired to provide my,consent in order to

25
                                                           jrchene,. sujdentloaneilrnmatloncenterscom does not
                                                         charge for you for sending or recerving text messages.
                                                         Your carriers message and data rates may ap ply-I
                                                         further agree Iand am digitally signing and Iagree to

26                                                       your trn,s and cond tins and privacy policy
                                                         agreerouL A. .au, may be recorded/monkored.



27                                                                      Match Me Now!




28



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 1
 2
             15.    BREA GROUP produced opt in data to HIGHER LEARNING, which

 3
       provided, among other information, an address for Plaintiff. However, as can be

 4
       seen from the opt in portal on the website above, such website never asks a

 5
       consumer for their address. Additionally, the source code for the website never

 6
       asks for the address of the consumer. Accordingly, the only technologically-

 7
       feasible conclusion is that the consumer data did not come from that website, and

 8
       was repurposed by BREA GROUP and/or its third party publishers after having

 9
       been obtained from another source.

10
             16.    Courts have certified similar class actions based on a similar

11
       manufactured consent theory. See McCurley v. Royal Seas Cruises, Inc., 331

12
       F.R.D. 142 (S.D. Cal., 2019).

13
             17.    Plaintiff alleges on information and belief that a forensic inspection of

14     the database for the websites in question will reveal that the web traffic analytics

15     for these websites do not line up with the data which web publishers purportedly

16     claim comes from these websites.

17           18.    Plaintiff also alleges on information and belief that a forensic in

18     section of the consent database will reveal that other consumer data contained

19     therein contain similar technologically-infeasible anomalies that will indicate that

20     the “consent” data was manufactured.

21           19.    While BREA GROUP did not itself place the call to Plaintiff and other

22     Class Members, it may as well have, given that it sold manufactured leads into the

23     stream of commerce with full knowledge of what they would be used for. Juries

24     have held lead generators liable under similar circumstances.               See Craig

25     Cunningham v Michael Montes, Jr. et al. Case No. 3:16-cv-00761-jdp (W.D. WI).

26     Accordingly, Plaintiff alleges that BREA GROUP was sufficiently involved in the

27     placing of calls to be vicariously liable for the calls at issue in this case. Moreover,
28     BREA GROUP is equitably the most responsible Defendant in this action, given



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 1     that it allegedly sold bogus leads data to HIGHER LEARNING and other unwitting
 2     companies.
 3           20.    Defendants used an “automatic telephone dialing system”, as defined
 4     by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit
 5     its business services. At one or more instance during these calls, Defendants
 6     utilized an “artificial or prerecorded voice” as prohibited by 47 U.S.C. §
 7     227(b)(1)(A).
 8           21.    Defendants’ calls constituted calls that were not for emergency
 9     purposes as defined by 47 U.S.C. § 227(b)(1)(A).
10           22.    Defendants’ calls were placed to telephone number assigned to a
11     cellular telephone service for which Plaintiff incurs a charge for incoming calls
12     pursuant to 47 U.S.C. § 227(b)(1).
13           23.    Plaintiff is not a customer of Defendants’ services and has never
14     provided any personal information, including her cellular telephone number, to
15     Defendants for any purpose whatsoever. Accordingly, Defendants never received
16     Plaintiff’s “prior express consent” to receive calls using an automatic telephone
17     dialing system or an artificial or prerecorded voice on her cellular telephone
18     pursuant to 47 U.S.C. § 227(b)(1)(A).
19                                  CLASS ALLEGATIONS
20           24.    Plaintiff brings this action on behalf of herself and all others similarly
21     situated, as a member of the proposed class (hereafter “The Class”) defined as
22     follows:
23                  All persons within the United States who received any
                    telephone calls from Defendants to said person’s cellular
24                  telephone made through the use of any automatic
25                  telephone dialing system or an artificial or prerecorded
                    voice and such person had not previously consented to
26
                    receiving such calls within the four years prior to the
27                  filing of this Complaint
28           25.    Plaintiff represents, and is a member of, The Class, consisting of All


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 1     persons within the United States who received any telephone calls from Defendants
 2     to said person’s cellular telephone made through the use of any automatic telephone
 3     dialing system or an artificial or prerecorded voice and such person had not
 4     previously not provided their cellular telephone number to Defendants within the
 5     four years prior to the filing of this Complaint.
 6             26.      Defendants, its employees and agents are excluded from The Class.
 7     Plaintiff does not know the number of members in The Class, but believes the Class
 8     members number in the thousands, if not more. Thus, this matter should be
 9     certified as a Class Action to assist in the expeditious litigation of the matter.
10             27.      The Class is so numerous that the individual joinder of all of its
11     members is impractical. While the exact number and identities of The Class
12     members are unknown to Plaintiff at this time and can only be ascertained through
13     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
14     The Class includes thousands of members.            Plaintiff alleges that The Class
15     members may be ascertained by the records maintained by Defendants.
16             28.      Plaintiff and members of The Class were harmed by the acts of
17     Defendants in at least the following ways: Defendants illegally contacted Plaintiff
18     and Class members via their cellular telephones thereby causing Plaintiff and Class
19     members to incur certain charges or reduced telephone time for which Plaintiff and
20     Class members had previously paid by having to retrieve or administer messages
21     left by Defendants during those illegal calls, and invading the privacy of said
22     Plaintiff and Class members.

23             29.      Common questions of fact and law exist as to all members of The

24
       Class which predominate over any questions affecting only individual members of

25
       The Class. These common legal and factual questions, which do not vary between

26
       Class members, and which may be determined without reference to the individual

27
       circumstances of any Class members, include, but are not limited to, the following:

28
          a.         Whether, within the four years prior to the filing of this Complaint,

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 1                    Defendants made any call (other than a call made for emergency purposes
                      or made with the prior express consent of the called party) to a Class
 2                    member using any automatic telephone dialing system or any artificial or
 3                    prerecorded voice to any telephone number assigned to a cellular
                      telephone service;
 4
          b.          Whether Plaintiff and the Class members were damages thereby, and the
 5                    extent of damages for such violation; and
 6
          c.          Whether Defendants should be enjoined from engaging in such conduct
                      in the future.
 7
 8              30.      As a person that received numerous calls from Defendants using an
 9     automatic telephone dialing system or an artificial or prerecorded voice, without
10     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
11     Class.
12              31.      Plaintiff will fairly and adequately protect the interests of the members
13     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
14     class actions.
15              32.      A class action is superior to other available methods of fair and
16     efficient adjudication of this controversy, since individual litigation of the claims
17     of all Class members is impracticable. Even if every Class member could afford
18     individual litigation, the court system could not. It would be unduly burdensome
19     to the courts in which individual litigation of numerous issues would proceed.
20     Individualized litigation would also present the potential for varying, inconsistent,
21     or contradictory judgments and would magnify the delay and expense to all parties
22     and to the court system resulting from multiple trials of the same complex factual
23     issues. By contrast, the conduct of this action as a class action presents fewer
24     management difficulties, conserves the resources of the parties and of the court
25     system, and protects the rights of each Class member.
26              33.      The prosecution of separate actions by individual Class members
27     would create a risk of adjudications with respect to them that would, as a practical
28     matter, be dispositive of the interests of the other Class members not parties to such


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 1     adjudications or that would substantially impair or impede the ability of such non-
 2     party Class members to protect their interests.
 3            34.   Defendants acted or refused to act in respects generally applicable to
 4     The Class, thereby making appropriate final and injunctive relief with regard to the
 5     members of the California Class as a whole.
 6
                               FIRST CAUSE OF ACTION
            Negligent Violations of the Telephone Consumer Protection Act
 7                                 47 U.S.C. §227 et seq.
 8         35. Plaintiff repeats and incorporates by reference into this cause of
 9     action the allegations set forth above at Paragraphs 1-23.
10            36.   The foregoing acts and omissions of Defendants constitute numerous
11     and multiple negligent violations of the TCPA, including but not limited to each
12     and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
13            37.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et
14     seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
15     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16            38.   Plaintiff and the Class members are also entitled to and seek
17     injunctive relief prohibiting such conduct in the future.
18
19
                           SECOND CAUSE OF ACTION
        Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                        Act
21                              47 U.S.C. §227 et seq.
22         39. Plaintiff repeats and incorporates by reference into this cause of
23     action the allegations set forth above at Paragraphs 1-27.

24            40.   The foregoing acts and omissions of Defendants constitute numerous

25
       and multiple knowing and/or willful violations of the TCPA, including but not

26
       limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et

27
       seq.

28
              41.   As a result of Defendants’ knowing and/or willful violations of 47



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 1   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
 2   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 3   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 4         42.    Plaintiff and the Class members are also entitled to and seek
 5   injunctive relief prohibiting such conduct in the future.
 6                                PRAYER FOR RELIEF
 7   WHEREFORE, Plaintiff requests judgment against Defendants for the following:
 8
                             FIRST CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                               47 U.S.C. §227 et seq.
11
                 • As a result of Defendants’ negligent violations of 47 U.S.C.
12                 §227(b)(1), Plaintiff and the Class members are entitled to and
13
                   request $500 in statutory damages, for each and every violation,
                   pursuant to 47 U.S.C. 227(b)(3)(B); and
14
15               • Any and all other relief that the Court deems just and proper.
16
                         SECOND CAUSE OF ACTION
17    Knowing and/or Willful Violations of the Telephone Consumer Protection
18
                                        Act
                              47 U.S.C. §227 et seq.
19
20               • As a result of Defendants’ willful and/or knowing violations of 47
                   U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
21
                   and request treble damages, as provided by statute, up to $1,500, for
22                 each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
23
                   U.S.C. §227(b)(3)(C); and

24               • Any and all other relief that the Court deems just and proper.
25
26
27
28



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 1       Respectfully submitted this 20th day of March, 2020.
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 3
 4                                 By: /s Todd M. Friedman
                                       Todd M. Friedman
 5                                     Law Offices of Todd M. Friedman
 6                                     Attorney for Plaintiff
 7
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 7
 8   Attorneys for Plaintiff
 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
     LUCINE TRIM, individually and on )           Case No.
12   behalf of all others similarly situated, )
13                                            )   CLASS ACTION
     Plaintiff,                               )
14                                            )   COMPLAINT FOR VIOLATIONS
15          vs.                               )   OF:
                                              )
16                                                1. NEGLIGENT VIOLATIONS OF
                                              )
                                                     THE TELEPHONE CONSUMER
17   EDU DOC SUPPORT LLC; DOES 1 )                   PROTECTION ACT [47 U.S.C.
18   through 10, inclusive,                   )      §227 ET SEQ.]
                                              )   2. WILLFUL VIOLATIONS OF THE
19                                                   TELEPHONE CONSUMER
     Defendants.                              )      PROTECTION ACT [47 U.S.C.
20                                            )      §227 ET SEQ.]
                                              )
21
                                              )   DEMAND FOR JURY TRIAL
22         Plaintiff, LUCINE TRIM (hereinafter “Plaintiff”), individually and all others
23   similarly situated, alleges the following upon information and belief based upon
24   personal knowledge:
25                              NATURE OF THE CASE
26
           1.     Plaintiff brings this action individually and on behalf of all others
27
     similarly situated seeking damages and any other available legal or equitable
28
     remedies resulting from the illegal actions of EDU DOC SUPPORT LLC


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 1   (hereinafter “Defendant”), in negligently, knowingly, and/or willfully contacting
 2   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer
 3   Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s
 4   privacy.
 5                             JURISDICTION & VENUE
 6           2.   Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 7   a resident of California, seeks relief on behalf of a Class, which will result in at
 8   least one class member belonging to a different state than that of Defendant, a
 9   company with its principal place of business and State of Incorporation in
10   California state. Plaintiff also seeks up to $1,500.00 in damages for each call in
11   violation of the TCPA, which, when aggregated among a proposed class in the
12   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
13   Therefore, both diversity jurisdiction and the damages threshold under the Class
14   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
15           3.   Venue is proper in the United States District Court for the Central
16   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
17   because Defendant does business within the state of California and Plaintiff resides
18   within this District.
19                                       PARTIES
20           4.   Plaintiff, LUCINE TRIM (“Plaintiff”), is a natural person residing in
21   Los Angeles County of the state of California and is a “person” as defined by 47
22   U.S.C. § 153 (10).
23           5.   Defendant, EDU DOC SUPPORT LLC (“Defendant”), is an
24   educational consulting company and is a “person” as defined by 47 U.S.C. § 153
25   (10).
26           6.   The above named Defendant, and its subsidiaries and agents, are
27   collectively referred to as “Defendants.” The true names and capacities of the
28   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are


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 1   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 2   names. Each of the Defendants designated herein as a DOE is legally responsible
 3   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 4   Complaint to reflect the true names and capacities of the DOE Defendants when
 5   such identities become known.
 6         7.     Plaintiff is informed and believes that at all relevant times, each and
 7   every Defendant was acting as an agent and/or employee of each of the other
 8   Defendants and was acting within the course and scope of said agency and/or
 9   employment with the full knowledge and consent of each of the other Defendants.
10   Plaintiff is informed and believes that each of the acts and/or omissions complained
11   of herein was made known to, and ratified by, each of the other Defendants.
12                              FACTUAL ALLEGATIONS
13         8.     Beginning on or around November 26, 2019, Defendant contacted
14   Plaintiff on her cellular telephone, ending in -2347, in an effort to sell or solicit its
15   services.
16         9.     Defendant used an “automatic telephone dialing system”, as defined
17   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit
18   its business services. At one or more instance during these calls, Defendant utilized
19   an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
20         10.    Defendant’s calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22         11.    Defendant’s calls were placed to telephone number assigned to a
23   cellular telephone service for which Plaintiff incurs a charge for incoming calls
24   pursuant to 47 U.S.C. § 227(b)(1).
25         12.    Plaintiff is not a customer of Defendant’s services and has never
26   provided any personal information, including her cellular telephone number, to
27   Defendant for any purpose whatsoever. Accordingly, Defendant never received
28   Plaintiff’s “prior express consent” to receive calls using an automatic telephone


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 1   dialing system or an artificial or prerecorded voice on her cellular telephone
 2   pursuant to 47 U.S.C. § 227(b)(1)(A).
 3                                CLASS ALLEGATIONS
 4         13.    Plaintiff brings this action on behalf of herself and all others similarly
 5   situated, as a member of the proposed class (hereafter “The Class”) defined as
 6   follows:
 7
 8                All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
 9                telephone made through the use of any automatic
10                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
11
                  receiving such calls within the four years prior to the
12                filing of this Complaint
13
           14.    Plaintiff represents, and is a member of, The Class, consisting of All
14
     persons within the United States who received any telephone calls from Defendant
15
     to said person’s cellular telephone made through the use of any automatic telephone
16
     dialing system or an artificial or prerecorded voice and such person had not
17
     previously not provided their cellular telephone number to Defendant within the
18
     four years prior to the filing of this Complaint.
19
           15.    Defendant, its employees and agents are excluded from The Class.
20
     Plaintiff does not know the number of members in The Class, but believes the Class
21
     members number in the thousands, if not more. Thus, this matter should be
22
     certified as a Class Action to assist in the expeditious litigation of the matter.
23
           16.    The Class is so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Class
25
     members are unknown to Plaintiff at this time and can only be ascertained through
26
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27
     The Class includes thousands of members.            Plaintiff alleges that The Class
28



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 1   members may be ascertained by the records maintained by Defendant.
 2            17.      Plaintiff and members of The Class were harmed by the acts of
 3   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 4   and Class members via their cellular telephones thereby causing Plaintiff and Class
 5   members to incur certain charges or reduced telephone time for which Plaintiff and
 6   Class members had previously paid by having to retrieve or administer messages
 7   left by Defendant during those illegal calls, and invading the privacy of said
 8   Plaintiff and Class members.
 9            18.      Common questions of fact and law exist as to all members of The
10   Class which predominate over any questions affecting only individual members of
11   The Class. These common legal and factual questions, which do not vary between
12   Class members, and which may be determined without reference to the individual
13   circumstances of any Class members, include, but are not limited to, the following:
14
        a.          Whether, within the four years prior to the filing of this Complaint,
15
                    Defendant made any call (other than a call made for emergency purposes
16                  or made with the prior express consent of the called party) to a Class
17                  member using any automatic telephone dialing system or any artificial or
                    prerecorded voice to any telephone number assigned to a cellular
18                  telephone service;
19      b.          Whether Plaintiff and the Class members were damages thereby, and the
                    extent of damages for such violation; and
20
        c.          Whether Defendant should be enjoined from engaging in such conduct in
21                  the future.
22
              19.      As a person that received numerous calls from Defendant using an
23
     automatic telephone dialing system or an artificial or prerecorded voice, without
24
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
25
     Class.
26
              20.      Plaintiff will fairly and adequately protect the interests of the members
27
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
28



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 1   class actions.
 2         21.    A class action is superior to other available methods of fair and
 3   efficient adjudication of this controversy, since individual litigation of the claims
 4   of all Class members is impracticable. Even if every Class member could afford
 5   individual litigation, the court system could not. It would be unduly burdensome
 6   to the courts in which individual litigation of numerous issues would proceed.
 7   Individualized litigation would also present the potential for varying, inconsistent,
 8   or contradictory judgments and would magnify the delay and expense to all parties
 9   and to the court system resulting from multiple trials of the same complex factual
10   issues. By contrast, the conduct of this action as a class action presents fewer
11   management difficulties, conserves the resources of the parties and of the court
12   system, and protects the rights of each Class member.
13         22.    The prosecution of separate actions by individual Class members
14   would create a risk of adjudications with respect to them that would, as a practical
15   matter, be dispositive of the interests of the other Class members not parties to such
16   adjudications or that would substantially impair or impede the ability of such non-
17   party Class members to protect their interests.
18         23.    Defendant has acted or refused to act in respects generally applicable
19   to The Class, thereby making appropriate final and injunctive relief with regard to
20   the members of the California Class as a whole.
21
                            FIRST CAUSE OF ACTION
22         Negligent Violations of the Telephone Consumer Protection Act
23                              47 U.S.C. §227 et seq.
24         24. Plaintiff repeats and incorporates by reference into this cause of
25   action the allegations set forth above.
26         25.    The foregoing acts and omissions of Defendant constitute numerous
27   and multiple negligent violations of the TCPA, including but not limited to each
28   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.


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 1          26.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 2   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
 3   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 4          27.    Plaintiff and the Class members are also entitled to and seek
 5   injunctive relief prohibiting such conduct in the future.
 6
 7
                         SECOND CAUSE OF ACTION
      Knowing and/or Willful Violations of the Telephone Consumer Protection
 8                                      Act
 9                            47 U.S.C. §227 et seq.
10       28. Plaintiff repeats and incorporates by reference into this cause of

11   action the allegations set forth above.

12
            29.    The foregoing acts and omissions of Defendant constitute numerous

13
     and multiple knowing and/or willful violations of the TCPA, including but not

14
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et

15
     seq.
            30.    As a result of Defendant’s knowing and/or willful violations of 47
16
     U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
17
     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
18
     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
19
            31.    Plaintiff and the Class members are also entitled to and seek
20
     injunctive relief prohibiting such conduct in the future.
21
                                  PRAYER FOR RELIEF
22
     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
23
24                           FIRST CAUSE OF ACTION
25          Negligent Violations of the Telephone Consumer Protection Act
                                 47 U.S.C. §227 et seq.
26
27                • As a result of Defendant’s negligent violations of 47 U.S.C.
28
                    §227(b)(1), Plaintiff and the Class members are entitled to and
                    request $500 in statutory damages, for each and every violation,


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 1               pursuant to 47 U.S.C. 227(b)(3)(B); and
 2             • Any and all other relief that the Court deems just and proper.
 3
                        SECOND CAUSE OF ACTION
 4
     Knowing and/or Willful Violations of the Telephone Consumer Protection
 5                                     Act
 6                           47 U.S.C. §227 et seq.
 7             • As a result of Defendant’s willful and/or knowing violations of 47
 8               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
                 and request treble damages, as provided by statute, up to $1,500, for
 9
                 each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
10               U.S.C. §227(b)(3)(C); and
11
               • Any and all other relief that the Court deems just and proper.
12
13
          Respectfully submitted this 30th day of April, 2020.
14
                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.
15
16                                   By: /s Todd M. Friedman
17                                       Todd M. Friedman
                                         Law Offices of Todd M. Friedman
18
                                         Attorney for Plaintiff
19
20
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     tfriedman@toddflaw.com
 6
     abacon@toddflaw.com
 7   Attorneys for Plaintiff
 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
                                              )     Case No. 2:20-cv-6857
11   TERRY FABRICANT and LUCINE )
     ALSULIMAN, individually and on           )     CLASS ACTION
12
     behalf of all others similarly situated, )
13                                            )     COMPLAINT FOR VIOLATIONS
14   Plaintiffs,                              )     OF:
                                              )
15           vs.                              )        1.   NEGLIGENT VIOLATIONS
                                                            OF THE TELEPHONE
16                                            )             CONSUMER PROTECTION
     SECURE ONE CAPITAL                       )             ACT [47 U.S.C. §227(b)]
17                                                     2.   WILLFUL VIOLATIONS
     CORPORATION, and DOES 1 through )
                                                            OF THE TELEPHONE
18   10, inclusive, and each of them,         )             CONSUMER PROTECTION
19                                            )             ACT [47 U.S.C. §227(b)]
     Defendant.                               )
20                                            )
                                              )     DEMAND FOR JURY TRIAL
21
                                              )
22
                                              )
23                                            )
24
                                              )
                                              )
25                                            )
26
27         Plaintiffs TERRY FABRICANT and LUCINE ALSULIMAN (“Plaintiffs”),
28   individually and on behalf of all others similarly situated, allege the following upon


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 1   information and belief based upon personal knowledge:
 2                               NATURE OF THE CASE
 3         1.     Plaintiffs bring this action individually and on behalf of all others
 4   similarly situated seeking damages and any other available legal or equitable
 5   remedies resulting from the illegal actions of SECURE ONE CAPITAL
 6   CORPORATION (“Defendant”), in negligently, knowingly, and/or willfully
 7   contacting Plaintiffs on Plaintiffs’ cellular telephones in violation of the Telephone
 8   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
 9   Plaintiffs’ privacy.
10                              JURISDICTION & VENUE
11         2.     Jurisdiction is proper under 28 U.S.C. § 1331. Plaintiff also seeks up
12   to $1,500.00 in damages for each call in violation of the TCPA, which, when
13   aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
14   threshold for federal court jurisdiction.
15         3.     Venue is proper in the United States District Court for the Central
16   District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
17   business within the State of California and Plaintiffs reside within the County of
18   Los Angeles.
19                                        PARTIES
20         4.     Plaintiff, TERRY FABRICANT (“Fabricant”), is a natural person
21   residing in Los Angeles County, California and is a “person” as defined by 47
22   U.S.C. § 153 (39).
23         5.     Plaintiff, LUCINE ALSULIMAN (“Alsuliman”), is a natural person
24   residing in Los Angeles County, California and is a “person” as defined by 47
25   U.S.C. § 153 (39).
26         6.     Defendant,      SECURE          ONE    CAPITAL        CORPORATION
27   (“Defendant”) is a mortgage lending company headquartered in Costa Mesa
28   California, and is a “person” as defined by 47 U.S.C. § 153 (39).


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 1          7.     The above named Defendant, and its subsidiaries and agents, are
 2   collectively referred to as “Defendants.” The true names and capacities of the
 3   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 4   currently unknown to Plaintiffs, who therefore sue such Defendants by fictitious
 5   names. Each of the Defendants designated herein as a DOE is legally responsible
 6   for the unlawful acts alleged herein. Plaintiffs will seek leave of Court to amend
 7   the Complaint to reflect the true names and capacities of the DOE Defendants when
 8   such identities become known.
 9          8.     Plaintiffs are informed and believe that at all relevant times, each and
10   every Defendant was acting as an agent and/or employee of each of the other
11   Defendants and was acting within the course and scope of said agency and/or
12   employment with the full knowledge and consent of each of the other Defendants.
13   Plaintiffs are informed and believe that each of the acts and/or omissions
14   complained of herein was made known to, and ratified by, each of the other
15   Defendants.
16                              FACTUAL ALLEGATIONS
17          9.     Beginning in or around April 2018, Defendant contacted Alsuliman
18   on her cellular telephone number ending in -2347, in an attempt to solicit her to
19   purchase Defendant’s services.
20          10.    Beginning in or around July 2018, Defendant contacted Fabricant on
21   his cellular telephone number ending in -8905, in an attempt to solicit her to
22   purchase Defendant’s services.
23          11.    Defendant used an “automatic telephone dialing system” as defined
24   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiffs seeking to solicit its services.
25          12.    Defendant contacted or attempted to contact Plaintiffs from telephone
26   numbers (818) 471-2347 and (661) 708-8905, confirmed to be Defendant’s
27   numbers.
28          13.    Defendant’s calls constituted calls that were not for emergency


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 1   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 2         14.    During all relevant times, Defendant did not possess Plaintiffs’ “prior
 3   express consent” to receive calls using an automatic telephone dialing system or an
 4   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5   227(b)(1)(A).
 6         15.    Defendant placed multiple calls soliciting its business to Plaintiffs on
 7   their cellular telephones ending in -2347 and -8905 in or around April 2018.
 8         16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
 9   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
10
11                               CLASS ALLEGATIONS
12         17.    Plaintiffs bring this action individually and on behalf of all others
13   similarly situated, as members of the proposed class concerning the ATDS claim
14   for no prior express consent (hereafter “The ATDS Class”) is defined as follows:
15
                  All persons within the United States who received any
16                solicitation/telemarketing   telephone   calls    from
17                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
18
                  system or an artificial or prerecorded voice and such
19                person had not previously consented to receiving such
20
                  calls within the four years prior to the filing of this
                  Complaint through class certification.
21
22         18.    Plaintiffs represent, and are members of, The ATDS Class, consisting
23   of all persons within the United States who received any collection telephone calls
24   from Defendant to said person’s cellular telephone made through the use of any
25   automatic telephone dialing system or an artificial or prerecorded voice and such
26   person had not previously not provided their cellular telephone number to
27   Defendant within the four years prior to the filing of this Complaint.
28         19.    Defendant, its employees and agents are excluded from The Class.


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 1   Plaintiffs do not know the number of members in The Class, but believe the Class
 2   members number in the thousands, if not more. Thus, this matter should be
 3   certified as a Class Action to assist in the expeditious litigation of the matter.
 4         20.    The Class is so numerous that the individual joinder of all of its
 5   members is impractical.      While the exact number and identities of the Class
 6   members are unknown to Plaintiffs at this time and can only be ascertained through
 7   appropriate discovery, Plaintiffs are informed and believe and thereon allege that
 8   the Class includes thousands of members. Plaintiffs allege that the Class members
 9   may be ascertained by the records maintained by Defendant.
10         21.    Plaintiffs and members of The ATDS Class were harmed by the acts
11   of Defendant in at least the following ways: Defendant illegally contacted Plaintiffs
12   and ATDS Class members via their cellular telephones thereby causing Plaintiffs
13   and ATDS Class members to incur certain charges or reduced telephone time for
14   which Plaintiffs and ATDS Class members had previously paid by having to
15   retrieve or administer messages left by Defendant during those illegal calls, and
16   invading the privacy of said Plaintiffs and ATDS Class members.
17         22.    Common questions of fact and law exist as to all members of The
18   ATDS Class which predominate over any questions affecting only individual
19   members of The ATDS Class. These common legal and factual questions, which
20   do not vary between ATDS Class members, and which may be determined without
21   reference to the individual circumstances of any ATDS Class members, include,
22   but are not limited to, the following:
23                a.     Whether, within the four years prior to the filing of this
24                       Complaint, Defendant made any telemarketing/solicitation call
25                       (other than a call made for emergency purposes or made with
26                       the prior express consent of the called party) to a ATDS Class
27                       member using any automatic telephone dialing system or any
28                       artificial or prerecorded voice to any telephone number


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 1                       assigned to a cellular telephone service;
 2                b.     Whether Plaintiffs and the ATDS Class members were
 3                       damaged thereby, and the extent of damages for such violation;
 4                       and
 5                c.     Whether Defendant should be enjoined from engaging in such
 6                       conduct in the future.
 7         23.    As persons that received numerous telemarketing/solicitation calls
 8   from Defendant using an automatic telephone dialing system or an artificial or
 9   prerecorded voice, without Plaintiffs’ prior express consent, Plaintiffs are asserting
10   claims that are typical of The ATDS Class.
11         24.    Plaintiffs will fairly and adequately protect the interests of the
12   members of the Class. Plaintiffs have retained attorneys experienced in the
13   prosecution of class actions.
14         25.    A class action is superior to other available methods of fair and
15   efficient adjudication of this controversy, since individual litigation of the claims
16   of all Class members is impracticable. Even if every Class member could afford
17   individual litigation, the court system could not. It would be unduly burdensome
18   to the courts in which individual litigation of numerous issues would proceed.
19   Individualized litigation would also present the potential for varying, inconsistent,
20   or contradictory judgments and would magnify the delay and expense to all parties
21   and to the court system resulting from multiple trials of the same complex factual
22   issues. By contrast, the conduct of this action as a class action presents fewer
23   management difficulties, conserves the resources of the parties and of the court
24   system, and protects the rights of each Class member.
25         26.    The prosecution of separate actions by individual Class members
26   would create a risk of adjudications with respect to them that would, as a practical
27   matter, be dispositive of the interests of the other Class members not parties to such
28   adjudications or that would substantially impair or impede the ability of such non-


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 1   party Class members to protect their interests.
 2         27.    Defendant has acted or refused to act in respects generally applicable
 3   to the Class, thereby making appropriate final and injunctive relief with regard to
 4   the members of the Class as a whole.
 5                             FIRST CAUSE OF ACTION
 6          Negligent Violations of the Telephone Consumer Protection Act
 7                                   47 U.S.C. §227(b).
 8                             On Behalf of the ATDS Class
 9         28.    Plaintiffs repeat and incorporate by reference into this cause of action
10   the allegations set forth above at Paragraphs 1-27.
11         29.    The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
14   47 U.S.C. § 227 (b)(1)(A).
15         30.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
16   Plaintiffs and the Class Members are entitled to an award of $500.00 in statutory
17   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
18         31.    Plaintiffs and the ATDS Class members are also entitled to and seek
19   injunctive relief prohibiting such conduct in the future.
20                           SECOND CAUSE OF ACTION
21    Knowing and/or Willful Violations of the Telephone Consumer Protection
22                                           Act
23                                   47 U.S.C. §227(b)
24                             On Behalf of the ATDS Class
25         32.    Plaintiffs repeat and incorporate by reference into this cause of action
26   the allegations set forth above at Paragraphs 1-31.
27         33.    The foregoing acts and omissions of Defendant constitute numerous
28   and multiple knowing and/or willful violations of the TCPA, including but not


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 1   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 2   and in particular 47 U.S.C. § 227 (b)(1)(A).
 3         34.    As a result of Defendant’s knowing and/or willful violations of 47
 4   U.S.C. § 227(b), Plaintiffs and the ATDS Class members are entitled to an award
 5   of $1,500.00 in statutory damages, for each and every violation, pursuant to 47
 6   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 7         35.    Plaintiffs and the Class members are also entitled to and seek
 8   injunctive relief prohibiting such conduct in the future.
 9                                PRAYER FOR RELIEF
10    WHEREFORE, Plaintiffs request judgment against Defendant for the following:
11                             FIRST CAUSE OF ACTION
12          Negligent Violations of the Telephone Consumer Protection Act
13                                   47 U.S.C. §227(b)
14               • As a result of Defendant’s negligent violations of 47 U.S.C.
15                §227(b)(1), Plaintiffs and the ATDS Class members are entitled to
16                and request $500 in statutory damages, for each and every violation,
17                pursuant to 47 U.S.C. 227(b)(3)(B).
18               • Any and all other relief that the Court deems just and proper.
19                           SECOND CAUSE OF ACTION
20    Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                           Act
22                                   47 U.S.C. §227(b)
23               • As a result of Defendant’s willful and/or knowing violations of 47
24                U.S.C. §227(b)(1), Plaintiffs and the ATDS Class members are
25                entitled to and request treble damages, as provided by statute, up to
26                $1,500, for each and every violation, pursuant to 47 U.S.C.
27                §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
28               • Any and all other relief that the Court deems just and proper.


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 1         36.    Pursuant to the Seventh Amendment to the Constitution of the United
 2   States of America, Plaintiffs are entitled to, and demand, a trial by jury.
 3
           Respectfully Submitted this 30th Day of July, 2020.
 4
                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
 6                                     By: /s/ Todd M. Friedman
                                           Todd M. Friedman
 7
                                           Law Offices of Todd M. Friedman
 8                                         Attorney for Plaintiffs
 9
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 9   *Pro Hac Vice to be filed

10   Attorneys for Plaintiffs and the Classes
11
                     IN THE UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA

13
      LUCINE TRIM and ANTHONY FREY,
14    individually and on behalf of all others
      similarly situated,
15                                                   Case No.
                         Plaintiff,
16
      V.
17
      JOHN C. HEATH, ATTORNEY AT
18    LAW PC, dlbla LEXINGTON LAW                    JURY TRIAL DEMANDED
      FIRM, aUtah corporation,
19
                         Defendant.
20

21

22                            CLASS ACTION COMPLAINT

23         1.     Plaintiffs Lucine Trim ("Trim") and Anthony Frey ("Frey")

24   (collectively "Plaintiffs") bring this Class Action Complaint against Defendant John

25   C. Heath, Attorney At Law PC d!b!a Lexington Law Firm ("Lexington" or

26   "Defendant") to: (1) stop Defendant's practice of placing calls using an "automatic

27   telephone dialing system" ("ATDS") to the cellphones of consumers if
                                                                               Exhibit
28                                                                               0012
                                                1
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 I   without their prior express consent; (2) stop Defendant's practice of placing calls

 2   using aprerecorded voice to the cellphones of consumers nationwide without their

 3   prior express consent; and (3) obtain redress for all persons injured by Defendant's

 4   conduct. Plaintiffs also seek an award of statutory damages to the members of the

 5   Classes plus court costs and reasonable attorneys' fees.

 6         2.     Plaintiffs, for their complaint, allege as follows upon personal

 7   knowledge as to themselves and their own acts and experiences, and, as to all other

 8   matters, upon information and belief, including investigation conducted by their

 9   attorneys.

10         3.     The Telephone Consumer Protection Act 47 U.S.C.       §227   et seq.

11   ("TCPA") and its implementing regulations, 47 C.F.R. §64.1200, et seq. prohibit

12   companies, such as Defendant, from placing calls to consumers using an ATDS

13   ("autodialed calls") or prerecorded voice without first obtaining consent. Lexington

14   has violated, and continues to violate, the TCPA and its regulations by placing

15   autodialed and prerecorded calls to cellphone subscribers who have not expressly

16   consented to receiving such calls.

17         4.     In an effort to obtain leads for its services, Lexington made (or directed

18   to be made on its behalf) autodialed and/or prerecorded calls to the telephones of

19   Plaintiffs and other members of the putative classes without first obtaining prior

20   express written consent to do so—all in violation of the TCPA.

21         5.     The TCPA was enacted to protect consumers from unauthorized calls

22   like those alleged in this Complaint—autodialed and/or prerecorded calls placed to

23   cellphone numbers without each consumer's prior express written consent.

24         6.     By making the telephone calls at issue in this Complaint, Defendant

25   caused Plaintiffs and the members of the Classes actual harm and cognizable legal

26   injury. This includes the aggravation and nuisance and invasions of privacy that

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 I result from the receipt of such calls, in addition to aloss of value realized for the

 2 monies consumers paid to their wireless carriers for the receipt of such calls.

 3 Furthermore, the calls interfered with and interrupted Plaintiffs' and the other Class

 4 members' use and enjoyment of their cellphones, including the related data,

 5 software, and hardware components. Defendant also caused substantial injury to

 6 their phones by causing wear and tear on their property, consuming battery life, and

 7 appropriating cellular minutes and data.

 8                                          PARTIES

 9         7.      Plaintiff Trim is anatural person over the age of eighteen (18) and a

10   citizen of the State of California residing in Los Angeles county.

11         8.      Plaintiff Frey is anatural person over the age of eighteen (18) and a

12   citizen of the State of Kentucky residing in Jefferson county.

13         9.      Defendant John C. Heath, Attorney At Law PC d!b/a Lexington Law

14   Firm is alimited liability company organized in and existing under the laws of the

15   State of Utah, with its principal place of business located at 360 North Cutler Drive,

16   North Salt Lake, Utah 84054.

17                                 JURISDICTION & VENUE

18          10.    This Court has subject matter jurisdiction over this action pursuant to

19   28 U.S.C.    §1331,   as the action arises under the Telephone Consumer Protection

20   Act, 47 U.S.C. §227, et seq., afederal statute. This Court also has jurisdiction under

21   the Class Action Fairness Act, 28 U.S.C.    §1332   ("CAFA"), because the alleged

22   Class consists of over 100 persons, there is minimal diversity, and the claims of the

23   class members when aggregated together exceeds $5 million. Further, none of the

24   exceptions to CAFA applies.

25          11.    This Court has personal jurisdiction over Lexington because it solicits

26   significant business in this District, has entered into business contracts in this

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 I   District, and asignificant portion of the unlawful conduct alleged in this Complaint

 2   occurred in, was directed to, and/or emanated from this District.

 3            12.   Venue is proper pursuant to 28 U.S.C.   §1391(b) because Defendant
 4   solicits asignificant amount of consumer business within this District, and because

 5   asubstantial portion of the wrongful conduct giving rise to the claims occurred in,

 6   was directed to, and/or emanated from this District.

 7                         COMMON ALLEGATIONS OF FACT

 8            13.   Defendant John C. Heath, Attorney At Law PC d/b/a Lexington Law

 9   Firm is acompany that offers credit repair services to consumers, including

10   reviewing credit reports and taking legal action to remove negative items from

11   consumer credit histories.

12            14.   Unfortunately for consumers, Lexington casts its marketing net too

13   wide. That is, in an attempt to promote its business and to generate leads for its

14   credit repair services, Defendant conducted (and continues to conduct) awide scale

15   telemarketing campaign that repeatedly makes unsolicited autodialed and/or pre-

16   recorded calls to consumers' telephones including cellular telephones, all without

17   any prior express consent to make these calls.

18            15.   While autodialed and prerecorded calls may be made where acaller

19   obtains prior express consent, Defendant places these calls to telephones using an

20   ATDS without consumers' prior written express consent in violation of the TCPA.

21            16.   At no time did Defendant obtain prior express consent from the

22   Plaintiffs or the members of the Classes orally or in writing to receive autodialed

23   calls.

24            17.   In making the phone calls at issue in this Complaint, Defendant and/or

25   its agent utilized an ATDS. Specifically, the hardware and software used by

26   Defendant and/or its agents has the capacity to store, produce, and dial random or

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 I   sequential numbers, and/or receive and store lists of telephone numbers, and to dial

 2   such numbers, en masse, in an automated fashion without human intervention.

 3   Defendant's automated dialing equipment includes features substantially similar to

 4   apredictive dialer, inasmuch as it is capable of making numerous calls

 5   simultaneously, without human intervention.

 6         18.    Defendant also made calls to consumers using an artificial or

 7   prerecorded voice, which would be heard on the line before any human

 8   representative.

 9         19.    Defendant knowingly made, and continues to make, autodialed and/or

10   prerecorded telemarketing calls without the prior express consent of the recipients.

11   As such, Defendant not only invaded the personal privacy of Plaintiffs and

12   members of the putative Class, but also intentionally and repeatedly violated the

13   TCPA.

14                      FACTS SPECIFIC TO PLAINTIFF TRIM

15         20.    Plaintiff Trim is the subscriber to and customary user of the personal

16   cellular telephone number ending in 2347.

17         21.    On or around March 26, 2018, Plaintiff received aphone call from

18   (602) 599-0438. When she answered the call, she was met with dead air. She said

19   "hello" before hearing a"click" and connecting to alive representative, indicating

20   that the phone call had been autodialed.

21         22.    The representative on the phone was aman who said he wanted to talk

22   to Trim about getting rid of her loans.

23         23.    In an effort to identify who was calling her, Trim asked the

24   representative to send her an email. She received an email from

25   emailemail.lexingtonlaw.com on March 26, 2018. The email described

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 I   Defendant's services, and it was apparently signed by acredit consultant named

 2   "Beth."

 3         24.    Several days later, on or around March 30, 2018, Trim received

 4   another call from (602) 599-0438. Once again, when she answered the call, she was

 5   met with dead air. She said "hello" before hearing a"click" and connecting to alive

 6   representative, indicating that the phone call had been autodialed.

 7         25.    The representative on the phone was awoman who stated that she

 8   thought Trim was interested in consolidation. Plaintiff Trim replied that she wasn't

 9   interested, and the representative asked why. Trim stated that she was busy and

10   hung up.

11         26.    Plaintiff Trim never consented either orally or in writing to receive

12   prerecorded and/or autodialed calls from Lexington or any of its affiliates or agents.

13         27.    Plaintiff does not have arelationship with Defendant, has never

14   provided her telephone number directly to Defendant, and has never requested that

15   Defendant place prerecorded and/or autodialed calls to her or offer her its services.

16         28.    Simply put, Plaintiff Trim has never provided any form of prior

17   express written or oral consent to Defendant to place autodialed calls to her and has

18   no business relationship with Defendant.

19                      FACTS SPECIFIC TO PLAINTIFF FREY

20         29.    Plaintiff Frey is the subscriber to and customary user of the personal

21   cellular telephone number ending in 2868.

22         30.    On or around May 4, 2018, Frey received aphone call from (502) 519-

23   3094. When he answered the call, he was met with prerecorded message line that

24   provided aprompt to connect with arepresentative. Frey followed the prompt and

25   was connected to afemale representative.

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 1         31.    In an effort to identify who was calling him, Frey asked for acall-back

 2   number. He was provided with the number (888) 596-4997, which is anumber

 3   available on Lexington's website.

 4         32.    Plaintiff Frey never consented either orally or in writing to receive

 5   prerecorded and/or autodialed calls from Lexington or any of its affiliates or agents.

 6         33.    Plaintiff does not have arelationship with Defendant, has never

 7   provided his telephone number directly to Defendant, and has never requested that

 8   Defendant place prerecorded and/or autodialed calls to him or offer him its services.

 9         34.    In short, Plaintiff Frey never provided any form of prior express

10   written or oral consent to Defendant to place autodialed or prerecorded calls to him

11   and has no business relationship with Defendant.

12         35.    Defendant was, and is, aware that the above described autodialed and

13   prerecorded calls were made to consumers like Plaintiffs who have not consented to

14   receive them.

15         36.    By making unauthorized autodialed calls as alleged herein, Lexington

16   has caused consumers actual harm. This includes the aggravation, nuisance and

17   invasions of privacy that result from the receipt of such calls, in addition to the wear

18   and tear on their telephones, consumption of battery life, lost cellular minutes, loss

19   of value realized for the monies consumers paid to their wireless carriers for the

20   receipt of such calls, in the form of the diminished use, enjoyment, value, and utility

21   of their telephone plans. Furthermore, Defendant made the calls knowing that they

22   interfered with and interrupted Plaintiffs and the other Class members' use and

23   enjoyment of,and the ability to access, their cellphones, including all related data,

24   software, and hardware components.

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 1         37.      To redress these injuries, Plaintiffs, on behalf of themselves and

 2   Classes of similarly situated individuals, bring this suit under the TCPA, which

 3   prohibits unsolicited prerecorded and/or autodialed calls to cellphones.

 4         38.      On behalf of the Classes, Plaintiffs seek an injunction requiring

 5   Defendant to cease all unauthorized prerecorded and/or autodialed calling activities

 6   and an award of statutory damages to the class members, together with costs, pre-

 7   and post-judgment interest, and reasonable attorneys' fees.

 8                             CLASS ACTION ALLEGATIONS

 9         39.      Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure

10   23(b)(2) and Rule 23(b)(3) on behalf of herself and the Classes defined as follows:

11
12               Autodialed No Consent Class: All persons in the United States

13               who from four years prior to the filing of the initial complaint in

14               this action to the present: (1) Defendant, or athird person acting

15               on behalf of Defendant, called; (2) on the person's cellular

16               telephone; (3) using the same equipment that was used to call the

17               Plaintiff; (4) for the purpose of marketing or selling Defendant's

18               products and services; and (5) for whom Defendant claims it

19               obtained prior express consent in the same manner as Defendant

20               claims it supposedly obtained prior express consent to call

                 Plaintiff Trim.
21

22               Prerecorded No Consent Class: All persons in the United

23               States who from four years prior to the filing of the initial

24               complaint in this action to the present: (1) Defendant, or athird

25               person acting on behalf of Defendant, called; (2) on the person's

26               cellular telephone; (3) for the purpose of marketing or selling

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 1                 Defendant's products and services; (4) using a pre-recorded

 2                 voice; and (5) for whom Defendant claims it obtained prior

 3                 express consent in the same manner as Defendant claims it

 4                 supposedly obtained prior express consent to call Plaintiff Frey.

 5
            40.       The following people are excluded from the Classes: (1) any Judge or
 6
     Magistrate presiding over this action and members of their families; (2) Defendant,
 7
     Defendant's subsidiaries, parents, successors, predecessors, and any entity in which
 8
     the Defendant or its parents have acontrolling interest, and its current or former
 9
     employees, officers and directors; (3) persons who properly execute and file a
10
     timely request for exclusion from the Classes; (4) persons whose claims in this
11
     matter have been finally adjudicated on the merits or otherwise released; (5)
12
     Plaintiffs' counsel and Defendant's counsel; and (6) the legal representatives,
13
     successors, and assignees of any such excluded persons.
14
            41.       Plaintiffs anticipate the need to amend the class definitions following
15
     appropriate discovery relating to the equipment used to call Plaintiffs, the purpose
16
     of the calls, and any supposed consent Defendant claims was obtained from
17
     Plaintiffs.
18
            42.       Numerosity: The exact number of members within the Classes is
19
     unknown and not available to Plaintiffs at this time, but it is clear that individual
20
     joinder is impracticable. On information and belief, Defendant has placed pre-
21
     recorded calls to thousands of consumers who fall into the defined Classes.
22
     However, the exact number of members of the Classes can be identified though
23
     reference to objective criteria, including Defendant's records and dialer reports.
24
            43.       Typicality: Plaintiffs' claims are typical of the claims of other
25
     members of the Classes in that Plaintiffs and the members of the Classes sustained
26
     damages arising out of Defendant's uniform wrongful conduct. Plaintiffs Trim and
27

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                                                   9
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  1   Frey are members of the Autodialed No Consent Class and the Prerecorded No

  2   Consent Class, respectively.

  3         44.    Adequate Representation: Plaintiffs will fairly and adequately

  4   represent and protect the interests of the Classes and have retained counsel

  5   competent and experienced in complex class actions. Plaintiffs have no interests

  6   antagonistic to or in conflict with those of the Classes, and Defendant has no

  7   defenses unique to Plaintiffs.

  8         45.    Commonality and Predominance: There are many questions of law

  9   and fact common to the claims of Plaintiffs and the Classes, and those questions

 10   predominate over any questions that may affect individual members of the Classes.

 11   Common questions for the Classes include, but are not necessarily limited to the

 12   following:

 13                (a)    Whether Defendant's conduct violated the TCPA;

 14                (b)    Whether Defendant systematically made telephone calls to

 15                individuals who did not previously provide Defendant and/or its agents

 16                with their prior express written consent to receive such phone calls;

 17                (c)    Whether Defendant made unsolicited calls with the use of an

 18                ATDS;

 19                (d)    Whether Defendant made unsolicited calls with the use of an

 20                artificial or prerecorded voice;

 21                (e)    Whether members of the Classes are entitled to treble damages

 22                based on the willfulness of Defendant's conduct.

 23         46.    Superiority: This case is also appropriate for class certification

 24   because class proceedings are superior to all other available methods for the fair and

 25   efficient adjudication of this controversy. Joinder of all parties is impracticable, and

 26   the damages suffered by the individual members of the Classes will likely be

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  1 relatively small, especially given the burden and expense of individual prosecution

  2 of the complex litigation necessitated by Defendant's actions. It would be virtually

  3 impossible for the individual Class members to obtain effective relief from

  4 Defendant's misconduct.

  5          47.    Even if members of the Classes could sustain such individual

  6 litigation, it would still not be preferable to aclass action, because individual

  7 litigation would increase the delay and expense to all parties due to the complex

  8 legal and factual controversies presented in this Complaint.

  9          48.    By contrast, aclass action presents far fewer management difficulties

 10   and provides the benefits of single adjudication, economy of scale, and

 11   comprehensive supervision by asingle Court. Economies of time, effort and

 12   expense will be fostered and uniformity of decisions ensured.

 13                               FIRST CAUSE OF ACTION
       Violation of the Telephone Consumer Protection Act, 47 U.S.C. §227, etseq.
 14
            (On behalf of Plaintiff Trim and the Autodialed No Consent Class)
 15
             49.    Plaintiff Trim incorporates by reference the foregoing allegations as if
 16
      fully set forth herein.
 17
             50.    Defendant Lexington, by and though its agents, made unsolicited and
 18
      unwanted telemarketing calls to cellular telephone numbers belonging to Plaintiff
 19
      Trim and the other members of the Autodialed No Consent Class—without their
 20
      prior express written consent—in an effort to generate leads for Defendants'
 21
      products and services.
 22
             51.    Defendant failed to obtain any prior express consent from Trim that
 23
      included, as required by 47 C.F.R.   §64. 1200(f)(8)(i),   a"clear and conspicuous"
 24
      disclosure informing the person signing that:
 25
             (A) By executing the agreement, such person authorizes the seller to
 26          deliver or cause to be delivered to the signatory telemarketing calls using

 27

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                                                 11
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  1
            an automatic telephone dialing system or an artificial or prerecorded
            voice; and
  2

  3         (B) The person is not required to sign the agreement (directly or
            indirectly), or agree to enter into such an agreement as acondition of
  4         purchasing any property, goods, or services.
  5
            52.    Defendant had no prior express consent to call Plaintiff Trim or the
  6
      members of the Autodialed No Consent Class.
  7
            53.    Defendant made the telephone calls using equipment that had the
  8
      capacity to store or produce telephone numbers to be called using arandom or
  9
      sequential number generator, and/or receive and store lists of phone numbers, and
 10
      to dial such numbers, en masse.
 11
            54.    Defendant utilized equipment that made the telephone calls to Trim
 12
      and other members of the Class simultaneously and without human intervention.
 13
            55.    By making unsolicited telephone calls to Plaintiff Trim and members
 14
      of the Autodialed No Consent Class's cellular telephones without prior express
 15
      consent, and by utilizing an ATDS, Defendant violated 47 U.S.C.     §
 16
      227(b)(1)(A)(iii).
 17
            56.    As aresult of Defendant's unlawful conduct, Trim and the members of
 18
      the Autodialed No Consent Class suffered actual damages in the form of monies
 19
      paid to receive the unsolicited telephone calls on their cellular telephones and,
 20
      under Section 227(b)(3)(B), are each entitled to, inter alia, aminimum of $500 in
 21
      damages for each such violation of the TCPA.
 22
            57.    Should the Court determine that Defendant's conduct was willful and
 23
      knowing, the Court may, pursuant to Section 227(b)(3), treble the amount of
 24
      statutory damages recoverable by Plaintiff Trim and the other members of the
 25
      Autodialed No Consent Class.
 26
                             SECOND CAUSE OF ACTION
 27    Violation of the Telephone Consumer Protection Act, 47 U.S.C.          §227,   etseq.

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  1
               (On behalf of Plaintiff Frey and the Prerecorded No Consent Class)

               58.   Plaintiff Frey incorporates by reference the foregoing allegations as if
  2
      fully set forth herein.
  3
               59.   Defendant made unsolicited and unwanted telemarketing calls using an
  4
      artificial or prerecorded voice to cellular telephone numbers belonging to Plaintiff
  5
      Frey and the other members of the Prerecorded No Consent Class—without their
  6
      prior express written consent—in an effort to generate leads for Lexington's
  7
      products and services.
  8
               60.   Defendant failed to obtain any prior express consent that included, as
  9

 10
      required by 47 C.F.R.     §64.1200(f)(8)(i),   a"clear and conspicuous" disclosure

      informing the person signing that:
 11
               (A) By executing the agreement, such person authorizes the seller to
 12
               deliver or cause to be delivered to the signatory telemarketing calls using
 13            an automatic telephone dialing system or an artificial or prerecorded
               voice; and
 14

 15            (B) The person is not required to sign the agreement (directly or
               indirectly), or agree to enter into such an agreement as acondition of
 16
               purchasing any property, goods, or services.
 17

 18            61.   Defendant had no prior express consent to call Plaintiff Frey or the

 19   members of the Prerecorded No Consent Class.

 20            62.   Defendant made the telephone calls using an artificial or prerecorded

 21   voice.

 22            63.   By making unsolicited telephone calls to Frey and members of the

 23   Prerecorded No Consent Class's cellular telephones without prior express consent,

 24   and by utilizing aprerecorded voice message to do so, Defendant violated 47

 25   U.S.C.    §227(b)(l)(A)(iii).
 26

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  1         64.    As aresult of Defendant's unlawful conduct, Plaintiff Frey and the

  2   members of the Prerecorded No Consent Class suffered actual damages in the form

  3   of monies paid to receive the unsolicited telephone calls on their cellular telephones

  4   and, under Section 227(b)(3)(B), are each entitled to, inter a/ia, aminimum of $500

  5   in damages for each such violation of the TCPA.

  6         65.    Should the Court determine that Defendant's conduct was willful and

  7   knowing, the Court may, pursuant to Section 227(b)(3), treble the amount of

  8   statutory damages recoverable by Frey and the other members of the Prerecorded

  9   No Consent Class.

 10                                PRAYER FOR RELIEF

 11         WHEREFORE, Plaintiffs Lucine Trim and Anthony Frey, on behalf of

 12   themselves and the classes, pray for the following relief:

 13                A.     An order certifying the Classes as defined above, appointing

 14         Plaintiffs as the representative of the respective Classes and appointing their

 15         counsel as Class Counsel;

 16                B.     An award of statutory damages in the amount of five hundred

 17         dollars ($500.00) for each violation, whichever is greater all to be paid into a

 18         common fund for the benefit of the Plaintiffs and the Class Members;

 19                C.     An order declaring that Defendant's actions, as set out above,

 20         violate the TCPA and appropriate injunctive relief;

 21                D.     An award of pre- and post-judgment interest;

 22                E.     An award of reasonable attorneys' fees and costs to be paid out

 23         of the common fund prayed for above; and

 24                F.     Such other and further relief that the Court deems reasonable

 25         and just.

 26                                     JURY DEMAND

 27

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  1         Plaintiffs request atrial by jury of all claims that can be so tried.

  2

  3                                           Respectfully submitted,

  4 Dated: March 5, 2020                      LUCINE TRIM and ANTHONY FREY,
                                              individually and on behalf of all others
  5                                           similarly situated,

  6

  7                                           By:       Is! Aaron D. Aftergood
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 16
                                              Attorneys for Plaintiff and the Class
 17
                                              *   Pro Hac Vice to be filed
 18

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 8

 9                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10

11   LUCJNE TRIM, individually and on           ) Case No.
12   behalf of all others similarly situated,   )
                                                ) CLASS ACTION
13
     Plaintiff,                                 )
14                                              ) COMPLAINT FOR VIOLATIONS
            vs.                                 ) OF:
15
                                                )
16   SIMPLY SWEEPS, LP; SPARK                           1.   NEGLIGENT VIOLATIONS
                                                             OF THE TELEPHONE
17   REVENUE, LLC; CREDIREADY,                  )            CONSUMER PROTECTION
     LLC; INTERNET THINGS, LP; and              )            ACT 147 U.S.C. §227 ET
18   DOES 1through 10, inclusive, and each)                  SEQ.t
                                                        2.   WILIiFUL VIOLATIONS
19   of them,                                   )            OF THE TELEPHONE
                                                )            CONSUMER PROTECTION
20                                                           ACT 147 U.S.C. §227 ET
     Defendant.                                 )            SEQ.f
21                                              )
22                                                    DEMAND FOR JURY TRIAL
                                                )
23
                                                )
24                                              )
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25
                                                )
26                                              )
27                                              )
     I/I
28   I/I



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 1         Plaintiff Lucine Trim ("Plaintiff'), individually and on behalf of all others

 2   similarly situated, alleges the following upon information and belief based upon

 3   personal knowledge:

 4                                 NATURE OF THE CASE

 5           1.   Plaintiff brings this action individually and on behalf of all others

 6   similarly situated seeking damages and any other available legal or equitable

 7   remedies resulting from the illegal actions of Simply Sweeps, LP ("Simply

 8   Sweets"),    Spark     Revenue,     LLC    ("Spark   Revenue"),     CrediReady,         LLC

 9   ("CrediReady"), Internet Things, LP ("Internet Things") (collectively referred to

10   as "Defendants") in negligently, knowingly, and/or willfully contacting Plaintiff on

11   Plaintiff's cellular telephone in violation of the Telephone Consumer Protection

12   Act, 47. U.S. C.   §227 et seq.   ("TCPA"), thereby invading Plaintiff's privacy.

13         2.     The TCPA was designed to prevent calls and messages like the ones

14   described within this complaint, and to protect the privacy of citizens like Plaintiff.

15   "Voluminous consumer complaints about abuses of telephone technology                -    for

16   example, computerized calls dispatched to private homes       -   prompted Congress to

17   pass the TCPA." Minis v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

18         3.     In enacting the TCPA, Congress intended to give consumers achoice

19   as to how creditors and telemarketers may call them, and made specific findings

20   that "[t]echnologies that might allow consumers to avoid receiving such calls are

21   not universally available, are costly, are unlikely to be enforced, or place an

22   inordinate burden on the consumer. TCPA, Pub.L. No. 102-243,          §11.   Toward this

23   end, Congress found that

24
                   [b]anning such automated or prerecorded telephone calls to the
25
                  home, except when the receiving party consents to receiving the
26
                  call or when such calls are necessary in an emergency situation
27
                  affecting the health and safety of the consumer, is the only
28




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 1                       effective means of protecting telephone consumers from this

 2                   nuisance and privacy invasion.

 3
     Id. at   §12;   see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
 4
     3292838,      at*   4(N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA's
 5
     purpose).
 6
              4.         Congress also specifically found that "the evidence presented to the
 7
     Congress indicates that automated or prerecorded calls are a nuisance and an
 8
     invasion of privacy, regardless of the type of call...." Id. at         §§   12-13. See also,
 9
     Mims, 132 S. Ct. at 744.
10
              5.         As Judge Easterbrook of the Seventh Circuit recently explained in a
11
     TCPA case regarding calls to anon-debtor similar to this one:
12
                         The Telephone Consumer Protection Act     ...   is well known for
13
                         its provisions limiting junk-fax transmissions. A less-litigated
14
                         part of the Act curtails the use of automated dialers and
15
                         prerecorded messages to cell phones, whose subscribers often
16
                         are billed by the minute as soon as the call is answered—and
17
                         routing a call to voicemail counts as answering the call. An
18
                         automated call to a landline phone can be an annoyance; an
19
                         automated call to acell phone adds expense to annoyance.
20

21
     Soppetv. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

22
                                       JURISDICTION & VENUE

23            6.         Jurisdiction is proper under 28 U.S.C.    §1331    because this action

24
     arises under aFederal Question, namely the Telephone Consumer Protection Act,

25   47 U.S.C.     §227,     etseq..

26
              7.         Venue is proper in the United States District Court for the Central

27
     District of California pursuant to 18 U.S.C.           1391(b) and 18 U.S.C.      §1441(a)

28
     because Defendants do business within the state of California and the Central




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 1   District of California.

 2                                            PARTIES

 3             8.      Plaintiff, Lucine Trim ("Plaintiff'), is anatural person and resident of

 4   North Hollywood, California and is a"person" as defined by 47 U.S. C.         §153   (39).

 5             9.      Defendant, Simply Sweeps is abusiness that participates in the market

 6   of lead generation and data management and is a"person" as defined by 47 U.S. C.

 7   §153      (39).

 8             10.     Defendant, Spark Revenue is a business that owns and operates

 9   sparkrevenue.com and is a"person" as defined by 47 U.S.C.            §153    (39).   Spark

10   Revenue participates in the market of lead generations and data management.

11             11.     Defendant, CrediReady owns and operates crediready.com and

12   approvedcar.com and is a"person" as defined by 47 U.S. C.        §153   (39). CrediReady

13   participates in the market of lead generation and data management.

14             12.     Defendant Internet Things is a company that owns and operates

15   Simply Sweeps, LP and CrediReady, LLC and is a "person" as defined by 47

16   U.S. C.   §153    (39).

17             13.     The true names and/or capacities, whether individual, corporate,

18   associate, partnership, trust, or otherwise of defendant DOES 1through 100,

19   inclusive, and each of them, are unknown to Plaintiffs, who therefore sues said

20   defendants by such fictitious names. Plaintiffs are informed and believe, and

21   thereon alleges, that defendant fictitiously named herein as aDOE was legally

22   responsible, negligently, or in some other actionable manner, for the events and

23   happening hereinafter referred to, and thereby proximately caused the injuries and

24   damages to Plaintiffs as hereinafter alleged. Plaintiffs will amend this Complaint

25   to allege the true names and capacities of these DOES and when they have been

26   ascertained.

27

28




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 1                              FACTUAL ALLEGATIONS

 2           14.   At various and multiple times prior to the filing of the instant

 3   Complaint, including within the one year preceding the filing of this Complaint,

 4   CrediReady contacted Plaintiff to solicit purchases of Defendant's services.

 5           15.   Beginning in or around March of 2018, CrediReady began

 6   contacting Plaintiff on her cellular telephone.

 7           16.   Defendant was messaging Plaintiff on her cellular telephone number

 8   ending in -2347.

 9           17.   On March 13, 2018, CrediReady sent Plaintiff atext message that

10   read:

11                 CrediReady: "hi lucine cong we have matche dyou toa no of lenders

12                 prepared to give you acar loan -it has asite- she said stop then

13                 hellocreditready.com or 855 549 1864."

14           18.   On November 15, 2019, CrediReady sent Plaintiff another text

15   message that read:

16                 CrediReady: "it gotatext."

17           19.   On November 17, 2019, CrediReady sent Plaintiff another text

18   message that read:

19                 CrediReady: "it goes to simplycellphonesforyou.com -privacy this is

20                 the company spark revenue."

21           20.   Defendant's messages to Plaintiff were sent using short code 96059

22           21.   A short code is aspecial telephone number, significantly shorter than

23   full telephone numbers, which can be used to address SMS and MMS messages

24   from certain service providers' mobile phones or fixe phones

25           22.   Short codes are often associated with automated services. An

26   automated program can handle the response and typically requires the sender to

27   start the message with acommand word or prefix. The service then responds to

28   the command appropriately. The use of short codes is indicative of technology



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 1   that has the capacity to store or produce numbers to be called using arandom or

 2   sequential number generator, and to dial such numbers. Further, the use of generic

 3   mass-marketing-styled text messages is also indicative of such technology being

 4   used as aform of transmittal of such text messages.

 5          23.   CrediReady used an "automatic telephone dialing system," as

 6   defined by 47 U.S. C.    §227(a) (1)    to send its text messages to Plaintiff seeking to

 7   solicit the purchase of CrediReady's services. In particular, the equipment used

 8   by CrediReady, to send the text messages at issue, to Plaintiff, has the capacity to:

 9   1) store or produce numbers to be called using arandom or sequential number

10   generator; and 2) to dial those numbers.

11         24.    Defendant's texts constituted calls that were not for emergency

12   purposes as defined by 47 U.S. C.       §227(b) (1) (A).
13         25.    Defendant's texts were placed to atelephone number assigned to a

14   cellular telephone service for which Plaintiff incurs acharge for incoming calls

15   pursuant to 47 U.S. C.   §227(b) (1).
16         26.    During all relevant times, Defendant never received Plaintiff's "prior

17   express consent" to receive unsolicited text messages or calls using an automatic

18   telephone dialing system or an artificial or prerecorded voice on her cellular

19   telephone pursuant to 47 U S. C.       §227(a) (1) (A).
20         27.    Defendant's conduct violated the TCPA by:

21                a. Using any automatic telephone dialing system to any

22                   telephone number assigned to apaging service, cellular

23                   telephone service, or any service for which the called

24                   party      is   charged     for   the      call   (47   U.S.C.   §
25                   227(b) (A) (iii.),).

26         28.     As aresult of the above violations of the TCPA, Plaintiff suffered

27   and continues to suffer injury to Plaintiff's feelings, personal humiliation,

28   embarrassment, mental anguish and emotional distress, and Defendants are liable



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 1   to Plaintiff for Plaintiff's actual damages, statutory damages, and costs and

 2   attorney's fees.

 3                                CLASS ALLEGATIONS

 4         29.    Plaintiff brings this action individually and on behalf of all others

 5   similarly situated, as amember of the proposed class (hereafter "The Class")

 6   defined as follows:

 7                All persons within the United States who received any

 8                unsolicited   text   messages   from Defendants      to   said

 9                person's cellular telephone made through the use of any

10                automatic telephone dialing system and such person had

11                not previously consented to receiving such calls/texts

12                within the four (4) years prior to the filing of this

13                complaint.

14         30.    Plaintiff represents, and is amember of The Class, consisting of All

15   persons within the United States who received any unsolicited telephone texts

16   from Defendants to said person's cellular telephone made though the use of any

17   automatic telephone dialing system or unsolicited text messages and such person

18   had not previously not provided their cellular telephone number to Defendants

19   within the four years prior to the filing of this Complaint.

20         31.    Defendants, its employees, and agents are excluded from The Class.

21   Plaintiff does not know the number of members in The Class, but believes the

22   Class members number in the thousands, if not more. Thus, this matter should be

23   certified as aClass Action to assist in the expeditious litigation of the matter.

24         32.    The Class is so numerous that the individual joinder of all of its

25   members is impractical. While the exact number and identities of The Class

26   members are unknown to Plaintiff at this time and can only be ascertained

27   though appropriate discovery, Plaintiff is informed and believes and thereon

28




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 1   alleges that The Class includes thousands of members. Plaintiff alleges that The

 2   Class members may be ascertained by the records maintained by Defendants.

 3         33.    Plaintiff and members of The Class were harmed by the acts of

 4   Defendants in at least the following ways: Defendants illegally contacted Plaintiff

 5   and Class members via their cellular telephones thereby causing Plaintiff and

 6   Class members to incur certain charges or reduced telephone time for which

 7   Plaintiff and Class members had previously paid by having to retrieve or

 8   administer messages left by Defendants during those illegal calls/texts, and

 9   invading the privacy of said Plaintiff and Class members.

10         34.    Common questions of fact and law exist as to all members of The

11   Class which predominate over any questions affecting only individual members

12   of The Class. These common legal and factual questions, which do not vary

13   between Class members, and which may be determined without reference to the

14   individual circumstances of any Class members, include, but are not limited to,

15   the following:

16                    a. Whether, within the four (4) years prior to the filing of this

17                       Complaint, Defendants sent any unsolicited text messages

18                       (other than acall made for emergency purposes or made with

19                       the prior express consent of the called party) to aClass

20                       member using any automatic telephone dialing system;

21                    b. Whether Defendants' revocation policies complied with

22                       TCPA;

23                    c. Whether Plaintiff and the Class members were damaged

24                       thereby, and the extent of damages for such violation; and

25                    d. Whether Defendants should be enjoined from engaging in

26                       such conduct in the future.

27

28




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 1         35.    As aperson that received numerous unsolicited text messages from

 2   Defendants using an automatic telephone dialing system, without Plaintiff's prior

 3   express consent, Plaintiff is asserting claims that are typical of The Class.

 4         36.    Plaintiff will fairly and adequately protect the interests of the

 5   members of The Class. Plaintiff has retained attorneys experienced in the

 6   prosecution of class actions.

 7         37.    A class action is superior to other available methods of fair and

 8   efficient adjudication of this controversy, since individual litigation of the claims

 9   of all Class members is impracticable. Even if every Class member could afford

10   individual litigation, the court system could not. It would be unduly burdensome

11   to the courts in which individual litigation of numerous issues would proceed.

12   Individualized litigation would also present the potential for varying, inconsistent,

13   or contradictory judgments and would magnify the delay and expense to all

14   parties and to the court system resulting from multiple trials of the same complex

15   factual issues. By contrast, the conduct of this action as aclass action presents

16   fewer management difficulties, conserves the resources of the parties and of the

17   court system, and protects the rights of each Class member.

18         38.    The prosecution of separate actions by individual Class members

19   would create arisk of adjudications with respect to them that would, as apractical

20   matter, be dispositive of the interests of the other Class members not parties to

21   such adjudications or that would substantially impair or impede the ability of such

22   non-party Class members to protect their interests.

23         39.     Defendants have acted or refused to act in respects generally

24   applicable to The Class, thereby making appropriate final and injunctive relief

25   with regard to the members of the Class as awhole.

26   I/I

27   I/I

28   I/I



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 1                              FIRST CAUSE OF ACTION

 2          Negligent Violations of the Telephone Consumer Protection Act

 3                                  47 U.S.C. §227 et seq.

 4         40.    Plaintiff repeats and incorporates by reference into this cause of

 5   action the allegations set forth above at Paragraphs 1-39.

 6         41.    The foregoing acts and omissions of Defendant constitute numerous

 7   and multiple negligent violations of the TCPA, including but not limited to each

 8   and every one of the above cited provisions of 47 U.S.C.     §227 et seq.
 9         42.    As aresult of Defendants' negligent violations of 47 U.S. C     §227 et
10   seq., Plaintiff and the Class Members are entitled an award of $500.00 in

11   statutory damages, for each and every violation, pursuant to 47 U.S. C.     §
12   227(b)(3)(B).

13         43.    Plaintiff and the Class members are also entitled to and seek

14   injunctive relief prohibiting such conduct in the future.

15                                 PRAYER FOR RELIEF

16    WHEREFORE, Plaintiff requests judgment against Defendant for the following:

17          Negligent Violations of the Telephone Consumer Protection Act

18                                  47 U.S.C. §227 et seq.

19               • As    a result of Defendants' negligent violations of 47 U.S.C.

20                §227(b) (1), Plaintiff and the Class members are entitled to and

21                request $500 in statutory damages, for each and every violation,

22                pursuant to 47 U.S. C. 227(b) (3) (B).

23               • Any   and all other relief that the Court deems just and proper.

24   II!

25   II!

26   II!

27   II!

28   II!



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 1                                 SECOND CAUSE OF ACTION

 2    Knowing and/or Willful Violations of the Telephone Consumer Protection

 3                                                Act

 4                                      47 U.S.C. §227 et seq.

 5             44.    Plaintiff repeats and incorporates by reference into this cause of

 6 action the allegations set forth above at Paragraphs 1-43.

 7             45.    The foregoing acts and omissions of Defendant constitute numerous

 8 and multiple knowing and/or willful violations of the TCPA, including but not

 9 limited to each and every one of the above cited provisions of 47 U.S.C.          §227 et
10   seq.

ii             46.    As aresult of Defendants' knowing and/or willful violations of 47

12   U S. C.   §227 et seq.,    Plaintiff and the Class members are entitled an award of

13   $1,500.00 in statutory damages, for each and every violation, pursuant to 47

14   US.C. §227(b) (3) (B) and 47 U.S.
                                     C. §227('b)(3)(C).

15             47.    Plaintiff and the Class members are also entitled to and seek

16   injunctive relief prohibiting such conduct in the future

17                                     PRAYER FOR RELIEF

18   WHEREFORE, Plaintiff requests judgment against Defendant for the following:

19    Knowing and/or Willful Violations of the Telephone Consumer Protection

20                                                Act

21                                      47 U.S.C. §227 et seq.

22                   • As   aresult of Defendants' willful and/or knowing violations of 47

23                    U.S.C. §227(b)(1) Plaintiff and the Class members are entitled to
                                           ,




24                    and request treble damages, as provided by statute, up to $1,500, for

25                    each and every violation, pursuant to 47 U.S. C. §227(b) (3) (B) and 47

26                    U.S. C. §227(b) (3) (C).

27                   • Any   and all other relief that the Court deems just and proper.

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                              DEMAND FOR JURY TRIAL
 1
           48.    Pursuant to the Seventh Amendment to the Constitution of the
 2
     United States of America, Plaintiff is entitled to, and demands, atrial by jury.
 3

 4         Respectfully Submitted this   24th   Day of July, 2020.
 5                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.

 6
                                       By:   Is! Todd M. Friedman
 7                                              Todd M. Friedman
                                                Law Offices of Todd M. Friedman
 8
                                             Attorney for Plaintiff
 9

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 9
10                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
11
12   LUCINE ALSULIMAN, individually ) Case No.
13   and on behalf of all others similarly )
     situated,                             ) CLASS ACTION
14                                         )
15   Plaintiff,                            ) COMPLAINT FOR VIOLATIONS
                                           ) OF:
16
            vs.                            )
17                                         ) 1. NEGLIGENT VIOLATIONS OF
                                                THE TELEPHONE CONSUMER
18                                         )    PROTECTION ACT [47 U.S.C.
     CREDIT LOAN, LLC; DOES 1              )    §227 ET SEQ.]
19   through 10, inclusive,                ) 2. WILLFUL VIOLATIONS OF THE
                                                TELEPHONE CONSUMER
20                                         )    PROTECTION ACT [47 U.S.C.
     Defendants.                           )    §227 ET SEQ.]
21
                                           )
22                                         ) DEMAND FOR JURY TRIAL
23         Plaintiff, LUCINE ALSULIMAN (“Plaintiff”), individually and all others
24   similarly situated, alleges the following upon information and belief based upon
25   personal knowledge:
26                             NATURE OF THE CASE
27         1.    Plaintiff brings this action individually and on behalf of all others
28   similarly situated seeking damages and any other available legal or equitable


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 1   remedies resulting from the illegal actions of CREDIT LOAN, LLC (“Defendant”),
 2   in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s
 3   cellular telephone in violation of the Telephone Consumer Protection Act, 47.
 4   U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 5                                JURISDICTION & VENUE
 6           2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 7   a resident of California, seeks relief on behalf of a Class, which will result in at
 8   least one class member belonging to a different state than that of Defendant, a
 9   Florida limited liability company. Plaintiff also seeks up to $1,500.00 in damages
10   for each call in violation of the TCPA, which, when aggregated among a proposed
11   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
12   jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under
13   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
14   jurisdiction.
15           3.      Venue is proper in the United States District Court for the Central
16   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
17   because Defendant does business within the state of California and Plaintiff resides
18   within this District.
19                                          PARTIES
20           4.      Plaintiff, LUCINE ALSULIMAN (“Plaintiff”), is a natural person
21   residing in Los Angeles County of the state of California and is a “person” as
22   defined by 47 U.S.C. § 153 (10).
23           5.      Defendant, CREDIT LOAN, LLC (“Defendant”), is a small business
24   and personal lending company and is a “person” as defined by 47 U.S.C. § 153
25   (10).
26           6.      The above named Defendant, and its subsidiaries and agents, are
27   collectively referred to as “Defendants.” The true names and capacities of the
28   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are


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 1   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 2   names. Each of the Defendants designated herein as a DOE is legally responsible
 3   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 4   Complaint to reflect the true names and capacities of the DOE Defendants when
 5   such identities become known.
 6         7.     Plaintiff is informed and believes that at all relevant times, each and
 7   every Defendant was acting as an agent and/or employee of each of the other
 8   Defendants and was acting within the course and scope of said agency and/or
 9   employment with the full knowledge and consent of each of the other Defendants.
10   Plaintiff is informed and believes that each of the acts and/or omissions complained
11   of herein was made known to, and ratified by, each of the other Defendants.
12                              FACTUAL ALLEGATIONS
13         8.     Beginning on or around March 26, 2018, Defendant contacted
14   Plaintiff on her cellular telephone, (818) 471-2347, in an effort to sell or solicit its
15   services.
16         9.     Defendant used an “automatic telephone dialing system”, as defined
17   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit
18   its business services. At one or more instance during these calls, Defendant utilized
19   an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
20         10.    Defendant’s calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22         11.    Defendant’s calls were placed to telephone number assigned to a
23   cellular telephone service for which Plaintiff incurs a charge for incoming calls
24   pursuant to 47 U.S.C. § 227(b)(1).
25         12.    Plaintiff is not a customer of Defendant’s services and has never
26   provided any personal information, including her cellular telephone number, to
27   Defendant for any purpose whatsoever. Accordingly, Defendant never received
28   Plaintiff’s “prior express consent” to receive calls using an automatic telephone


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 1   dialing system or an artificial or prerecorded voice on her cellular telephone
 2   pursuant to 47 U.S.C. § 227(b)(1)(A).
 3                                CLASS ALLEGATIONS
 4         13.    Plaintiff brings this action on behalf of herself and all others similarly
 5   situated, as a member of the proposed class (hereafter “The Class”) defined as
 6   follows:
 7
 8                All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
 9                telephone made through the use of any automatic
10                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
11
                  receiving such calls within the four years prior to the
12                filing of this Complaint
13
           14.    Plaintiff represents, and is a member of, The Class, consisting of All
14
     persons within the United States who received any telephone calls from Defendant
15
     to said person’s cellular telephone made through the use of any automatic telephone
16
     dialing system or an artificial or prerecorded voice and such person had not
17
     previously not provided their cellular telephone number to Defendant within the
18
     four years prior to the filing of this Complaint.
19
           15.    Defendant, its employees and agents are excluded from The Class.
20
     Plaintiff does not know the number of members in The Class, but believes the Class
21
     members number in the thousands, if not more. Thus, this matter should be
22
     certified as a Class Action to assist in the expeditious litigation of the matter.
23
           16.    The Class is so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Class
25
     members are unknown to Plaintiff at this time and can only be ascertained through
26
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27
     The Class includes thousands of members.            Plaintiff alleges that The Class
28



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 1   members may be ascertained by the records maintained by Defendant.
 2            17.      Plaintiff and members of The Class were harmed by the acts of
 3   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 4   and Class members via their cellular telephones thereby causing Plaintiff and Class
 5   members to incur certain charges or reduced telephone time for which Plaintiff and
 6   Class members had previously paid by having to retrieve or administer messages
 7   left by Defendant during those illegal calls, and invading the privacy of said
 8   Plaintiff and Class members.
 9            18.      Common questions of fact and law exist as to all members of The
10   Class which predominate over any questions affecting only individual members of
11   The Class. These common legal and factual questions, which do not vary between
12   Class members, and which may be determined without reference to the individual
13   circumstances of any Class members, include, but are not limited to, the following:
14
        a.          Whether, within the four years prior to the filing of this Complaint,
15
                    Defendant made any call (other than a call made for emergency purposes
16                  or made with the prior express consent of the called party) to a Class
17                  member using any automatic telephone dialing system or any artificial or
                    prerecorded voice to any telephone number assigned to a cellular
18                  telephone service;
19      b.          Whether Plaintiff and the Class members were damages thereby, and the
                    extent of damages for such violation; and
20
        c.          Whether Defendant should be enjoined from engaging in such conduct in
21                  the future.
22
              19.      As a person that received numerous calls from Defendant using an
23
     automatic telephone dialing system or an artificial or prerecorded voice, without
24
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
25
     Class.
26
              20.      Plaintiff will fairly and adequately protect the interests of the members
27
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
28



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 1   class actions.
 2         21.    A class action is superior to other available methods of fair and
 3   efficient adjudication of this controversy, since individual litigation of the claims
 4   of all Class members is impracticable. Even if every Class member could afford
 5   individual litigation, the court system could not. It would be unduly burdensome
 6   to the courts in which individual litigation of numerous issues would proceed.
 7   Individualized litigation would also present the potential for varying, inconsistent,
 8   or contradictory judgments and would magnify the delay and expense to all parties
 9   and to the court system resulting from multiple trials of the same complex factual
10   issues. By contrast, the conduct of this action as a class action presents fewer
11   management difficulties, conserves the resources of the parties and of the court
12   system, and protects the rights of each Class member.
13         22.    The prosecution of separate actions by individual Class members
14   would create a risk of adjudications with respect to them that would, as a practical
15   matter, be dispositive of the interests of the other Class members not parties to such
16   adjudications or that would substantially impair or impede the ability of such non-
17   party Class members to protect their interests.
18         23.    Defendant has acted or refused to act in respects generally applicable
19   to The Class, thereby making appropriate final and injunctive relief with regard to
20   the members of the California Class as a whole.
                             FIRST CAUSE OF ACTION
21         Negligent Violations of the Telephone Consumer Protection Act
22                               47 U.S.C. §227 et seq.
23         24. Plaintiff repeats and incorporates by reference into this cause of
24   action the allegations set forth above at Paragraphs 1-23.
25         25.    The foregoing acts and omissions of Defendant constitute numerous
26   and multiple negligent violations of the TCPA, including but not limited to each
27   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
28         26.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et


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 1   seq., Plaintiff and the Class Members are entitled to an award of $500.00 in
 2   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 3   227(b)(3)(B).
 4          27.    Plaintiff and the Class members are also entitled to and seek
 5   injunctive relief prohibiting such conduct in the future.
 6
                              SECOND CAUSE OF ACTION
      Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                          Act
 8                                  47 U.S.C. §227 et seq.
 9         28. Plaintiff repeats and incorporates by reference into this cause of

10   action the allegations set forth above at Paragraphs 1-23.

11          29.    The foregoing acts and omissions of Defendant constitute numerous

12
     and multiple knowing and/or willful violations of the TCPA, including but not

13
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et

14
     seq.

15
            30.    As a result of Defendant’s knowing and/or willful violations of 47
     U.S.C. § 227 et seq., Plaintiff and the Class members are entitled to an award of
16
     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
17
     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
18
            31.    Plaintiff and the Class members are also entitled to and seek
19
     injunctive relief prohibiting such conduct in the future.
20
                                  PRAYER FOR RELIEF
21
     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
22
23
                             FIRST CAUSE OF ACTION
24          Negligent Violations of the Telephone Consumer Protection Act
25                               47 U.S.C. §227 et seq.
26
                  • As a result of Defendant’s negligent violations of 47 U.S.C.
27                  §227(b)(1), Plaintiff and the Class members are entitled to and
28
                    request $500 in statutory damages, for each and every violation,
                    pursuant to 47 U.S.C. 227(b)(3)(B); and


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 1
              • Any and all other relief that the Court deems just and proper.
 2
 3                      SECOND CAUSE OF ACTION
     Knowing and/or Willful Violations of the Telephone Consumer Protection
 4
                                       Act
 5                           47 U.S.C. §227 et seq.
 6
              • As a result of Defendant’s willful and/or knowing violations of 47
 7              U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
 8              and request treble damages, as provided by statute, up to $1,500, for
                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
 9
                U.S.C. §227(b)(3)(C); and
10
11            • Any and all other relief that the Court deems just and proper.
12
13        Respectfully Submitted this 7th day of February, 2020.

14                          LAW OFFICES OF TODD M. FRIEDMAN, P.C.

15
                                    By: /s Todd M. Friedman
16                                      Todd M. Friedman
17                                      Law Offices of Todd M. Friedman
                                        Attorney for Plaintiff
18
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 7   Attorneys for Plaintiffs,
 8
                       UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10
     LUCINE ALSULIMAN, individually ) Case No.
11
     and on behalf of all others similarly )
12   situated,                             ) CLASS ACTION
13                                         )
     Plaintiff,                            ) COMPLAINT FOR VIOLATIONS
14                                         ) OF:
15          vs.                            )
                                           ) 1. NEGLIGENT VIOLATIONS OF
16                                              THE TELEPHONE CONSUMER
                                           )    PROTECTION ACT [47 U.S.C.
17   LENDUP GLOBAL, INC.; DOES 1 )              §227 ET SEQ.]
     through 10, inclusive,                ) 2. WILLFUL VIOLATIONS OF THE
18                                              TELEPHONE CONSUMER
                                           )    PROTECTION ACT [47 U.S.C.
19   Defendants.                           )    §227 ET SEQ.]
20                                         )
                                           ) DEMAND FOR JURY TRIAL
21
           Plaintiff, LUCINE ALSULIMAN (“Plaintiff”), individually and all others
22
     similarly situated, alleges the following upon information and belief based upon
23
     personal knowledge:
24
                               NATURE OF THE CASE
25
           1.    Plaintiff brings this action individually and on behalf of all others
26
     similarly situated seeking damages and any other available legal or equitable
27
     remedies resulting from the illegal actions of LENDUP GLOBAL, INC.
28



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 1   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 2   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 3   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 4                                JURISDICTION & VENUE
 5         2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 6   a resident of California, seeks relief on behalf of a Class, which will result in at
 7   least one class member belonging to a different state than that of Defendant, a
 8   company with its principal place of business and State of Incorporation in
 9   California state. Plaintiff also seeks up to $1,500.00 in damages for each call in
10   violation of the TCPA, which, when aggregated among a proposed class in the
11   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
12   Therefore, both diversity jurisdiction and the damages threshold under the Class
13   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
14   jurisdiction.
15         3.        Venue is proper in the United States District Court for the Central
16   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
17   because Defendant does business within the state of California and Plaintiff
18   resides within this District.
19                                          PARTIES
20         4.        Plaintiff, LUCINE ALSULIMAN (“Plaintiff”), is a natural person
21   residing in Los Angeles County of the state of California and is a “person” as
22   defined by 47 U.S.C. § 153 (10).
23         5.        Defendant, LENDUP GLOBAL, INC. (“Defendant”), is a short term
24   lending website and is a “person” as defined by 47 U.S.C. § 153 (10).
25         6.        The above named Defendant, and its subsidiaries and agents, are
26   collectively referred to as “Defendants.” The true names and capacities of the
27   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
28   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious


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 1   names. Each of the Defendants designated herein as a DOE is legally responsible
 2   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
 3   the Complaint to reflect the true names and capacities of the DOE Defendants
 4   when such identities become known.
 5         7.      Plaintiff is informed and believes that at all relevant times, each and
 6   every Defendant was acting as an agent and/or employee of each of the other
 7   Defendants and was acting within the course and scope of said agency and/or
 8   employment with the full knowledge and consent of each of the other Defendants.
 9   Plaintiff is informed and believes that each of the acts and/or omissions
10   complained of herein was made known to, and ratified by, each of the other
11   Defendants.
12                              FACTUAL ALLEGATIONS
13         8.      Beginning on or around June 14, 2018, Defendant contacted Plaintiff
14   on her cellular telephone, ending in -2347, in an effort to sell or solicit its
15   services.
16         9.      Defendant used an “automatic telephone dialing system”, as defined
17   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or
18   solicit its business services.    At one or more instance during these calls,
19   Defendant utilized an “artificial or prerecorded voice” as prohibited by 47 U.S.C.
20   § 227(b)(1)(A).
21         10.     Defendant’s calls constituted calls that were not for emergency
22   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
23         11.     Defendant’s calls were placed to telephone number assigned to a
24   cellular telephone service for which Plaintiff incurs a charge for incoming calls
25   pursuant to 47 U.S.C. § 227(b)(1).
26         12.     Plaintiff is not a customer of Defendant’s services and has never
27   provided any personal information, including her cellular telephone number, to
28   Defendant for any purpose whatsoever. Accordingly, Defendant never received


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 1   Plaintiff’s “prior express consent” to receive calls using an automatic telephone
 2   dialing system or an artificial or prerecorded voice on her cellular telephone
 3   pursuant to 47 U.S.C. § 227(b)(1)(A).
 4                                CLASS ALLEGATIONS
 5         13.    Plaintiff brings this action on behalf of herself and all others
 6   similarly situated, as a member of the proposed class (hereafter “The Class”)
 7   defined as follows:
 8
 9                All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
10                telephone made through the use of any automatic
11                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
12
                  receiving such calls within the four years prior to the
13                filing of this Complaint
14
           14.    Plaintiff represents, and is a member of, The Class, consisting of All
15
     persons within the United States who received any telephone calls from
16
     Defendant to said person’s cellular telephone made through the use of any
17
     automatic telephone dialing system or an artificial or prerecorded voice and such
18
     person had not previously not provided their cellular telephone number to
19
     Defendant within the four years prior to the filing of this Complaint.
20
           15.    Defendant, its employees and agents are excluded from The Class.
21
     Plaintiff does not know the number of members in The Class, but believes the
22
     Class members number in the thousands, if not more. Thus, this matter should be
23
     certified as a Class Action to assist in the expeditious litigation of the matter.
24
           16.    The Class is so numerous that the individual joinder of all of its
25
     members is impractical. While the exact number and identities of The Class
26
     members are unknown to Plaintiff at this time and can only be ascertained
27
     through appropriate discovery, Plaintiff is informed and believes and thereon
28



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 1   alleges that The Class includes thousands of members. Plaintiff alleges that The
 2   Class members may be ascertained by the records maintained by Defendant.
 3           17.      Plaintiff and members of The Class were harmed by the acts of
 4   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 5   and Class members via their cellular telephones thereby causing Plaintiff and
 6   Class members to incur certain charges or reduced telephone time for which
 7   Plaintiff and Class members had previously paid by having to retrieve or
 8   administer messages left by Defendant during those illegal calls, and invading the
 9   privacy of said Plaintiff and Class members.
10           18.      Common questions of fact and law exist as to all members of The
11   Class which predominate over any questions affecting only individual members
12   of The Class. These common legal and factual questions, which do not vary
13   between Class members, and which may be determined without reference to the
14   individual circumstances of any Class members, include, but are not limited to,
15   the following:
16
        a.         Whether, within the four years prior to the filing of this Complaint,
17
                   Defendant made any call (other than a call made for emergency
18                 purposes or made with the prior express consent of the called party) to a
19
                   Class member using any automatic telephone dialing system or any
                   artificial or prerecorded voice to any telephone number assigned to a
20                 cellular telephone service;
21      b.         Whether Plaintiff and the Class members were damages thereby, and
                   the extent of damages for such violation; and
22      c.         Whether Defendant should be enjoined from engaging in such conduct
23                 in the future.
24
             19.      As a person that received numerous calls from Defendant using an
25
     automatic telephone dialing system or an artificial or prerecorded voice, without
26
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of
27
     The Class.
28



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 1         20.    Plaintiff will fairly and adequately protect the interests of the
 2   members of The Class.        Plaintiff has retained attorneys experienced in the
 3   prosecution of class actions.
 4         21.    A class action is superior to other available methods of fair and
 5   efficient adjudication of this controversy, since individual litigation of the claims
 6   of all Class members is impracticable. Even if every Class member could afford
 7   individual litigation, the court system could not. It would be unduly burdensome
 8   to the courts in which individual litigation of numerous issues would proceed.
 9   Individualized litigation would also present the potential for varying, inconsistent,
10   or contradictory judgments and would magnify the delay and expense to all
11   parties and to the court system resulting from multiple trials of the same complex
12   factual issues. By contrast, the conduct of this action as a class action presents
13   fewer management difficulties, conserves the resources of the parties and of the
14   court system, and protects the rights of each Class member.
15         22.    The prosecution of separate actions by individual Class members
16   would create a risk of adjudications with respect to them that would, as a practical
17   matter, be dispositive of the interests of the other Class members not parties to
18   such adjudications or that would substantially impair or impede the ability of such
19   non-party Class members to protect their interests.
20         23.    Defendant has acted or refused to act in respects generally applicable
21   to The Class, thereby making appropriate final and injunctive relief with regard to
22   the members of the California Class as a whole.

23
                             FIRST CAUSE OF ACTION
24          Negligent Violations of the Telephone Consumer Protection Act
25                               47 U.S.C. §227 et seq.
26         24.    Plaintiff repeats and incorporates by reference into this cause of
27   action the allegations set forth above at Paragraphs 1-23.
28         25.    The foregoing acts and omissions of Defendant constitute numerous


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 1   and multiple negligent violations of the TCPA, including but not limited to each
 2   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 3          26.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 4   seq., Plaintiff and the Class Members are entitled an award of $500.00 in
 5   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 6   227(b)(3)(B).
 7          27.   Plaintiff and the Class members are also entitled to and seek
 8   injunctive relief prohibiting such conduct in the future.
 9
                         SECOND CAUSE OF ACTION
10
      Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                      Act
12                            47 U.S.C. §227 et seq.
13
            28.   Plaintiff repeats and incorporates by reference into this cause of

14
     action the allegations set forth above at Paragraphs 1-27.

15
            29.   The foregoing acts and omissions of Defendant constitute numerous

16
     and multiple knowing and/or willful violations of the TCPA, including but not
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
17
     seq.
18
            30.   As a result of Defendant’s knowing and/or willful violations of 47
19
     U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
20
     $1,500.00 in statutory damages, for each and every violation, pursuant to 47
21
     U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22
            31.   Plaintiff and the Class members are also entitled to and seek
23
     injunctive relief prohibiting such conduct in the future.
24
                                  PRAYER FOR RELIEF
25
      WHEREFORE, Plaintiff requests judgment against Defendant for the following:
26
     ///
27
     ///
28



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 1                          FIRST CAUSE OF ACTION
           Negligent Violations of the Telephone Consumer Protection Act
 2                              47 U.S.C. §227 et seq.
 3
                • As a result of Defendant’s negligent violations of 47 U.S.C.
 4
                  §227(b)(1), Plaintiff and the Class members are entitled to and
 5                request $500 in statutory damages, for each and every violation,
 6                pursuant to 47 U.S.C. 227(b)(3)(B); and

 7              • Any and all other relief that the Court deems just and proper.
 8
                         SECOND CAUSE OF ACTION
 9
      Knowing and/or Willful Violations of the Telephone Consumer Protection
10                                      Act
11                            47 U.S.C. §227 et seq.
12              • As a result of Defendant’s willful and/or knowing violations of 47
13                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
                  and request treble damages, as provided by statute, up to $1,500, for
14
                  each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and
15                47 U.S.C. §227(b)(3)(C); and
16
                • Any and all other relief that the Court deems just and proper.
17
18
           Respectfully submitted this 30th day of October, 2019.
19
                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
20
21                                    By: /s Todd M. Friedman
22                                        Todd M. Friedman
                                          Law Offices of Todd M. Friedman
23
                                          Attorney for Plaintiff
24
25
26
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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA

                                            )    Case No. 8:18-cv-00690-EAK-TGW
PAULA FOOTE, TERRY                          )
FABRICANT, and SIDNEY NAIMAN, )                  FIRST AMENDED CLASS ACTION
LUCY ALSULIMAN, individually and )
on behalf of all others similarly situated, )    FIRST AMENDED COMPLAINT
                                            )    FOR VIOLATIONS OF:
Plaintiffs,                                 )
                                            )       1.   NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
       vs.                                  )            CONSUMER PROTECTION
                                            )            ACT [47 U.S.C. §227(b)]
HEALTH INSURANCE                            )       2.   WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
INNOVATIONS, INC., and DOES 1 )                          CONSUMER PROTECTION
through 10, inclusive, and each of them, )               ACT [47 U.S.C. §227(b)]
                                            )       3.   NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
Defendant.                                  )            CONSUMER PROTECTION
                                            )            ACT [47 U.S.C. §227(c)]
                                            )       4.   WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
                                            )            CONSUMER PROTECTION
                                            )            ACT [47 U.S.C. §227(c)]
                                            )
                                            )
                                            )    DEMAND FOR JURY TRIAL


      Plaintiffs PAULA FOOTE, TERRY FABRICANT, and SIDNEY
NAIMAN, LUCY ALSULIMAN (“Plaintiffs”), individually and on behalf of all
others similarly situated, alleges the following upon information and belief based
upon personal knowledge:
                             NATURE OF THE CASE
      1.     Plaintiffs bring this action individually and on behalf of all others
similarly situated seeking damages and any other available legal or equitable
remedies resulting from the illegal actions of HEALTH INSURANCE
INNOVATIONS, INC. (“Defendant”), in negligently, knowingly, and/or willfully



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contacting Plaintiffs on Plaintiffs’ cellular telephone in violation of the Telephone
Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
regulations, specifically the National Do-Not-Call provisions, thereby invading
Plaintiffs’ privacy.
                           JURISDICTION & VENUE
        2.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiffs,
residents of Georgia, California, and Arizona, seek relief on behalf of a Class,
which will result in at least one class member belonging to a different state than
that of Defendant, a Florida corporation. Plaintiffs also seek up to $1,500.00 in
damages for each call in violation of the TCPA, which, when aggregated among a
proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal
court jurisdiction. Therefore, both diversity jurisdiction and the damages threshold
under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
has jurisdiction.
        3.    Venue is proper in the United States District Court for the Middle
District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
business within the State of Florida and Defendant’s principal place of business is
within the County of Hillsborough.
                                     PARTIES
        4.    Plaintiff, PAULA FOOTE (“Plaintiff Foote”), is a natural person
residing in the state of Georgia and is a “person” as defined by 47 U.S.C. § 153
(39).
        5.    Plaintiff, TERRY FABRICANT (“Plaintiff Fabricant”), is a natural
person residing in the state of California and is a “person” as defined by 47 U.S.C.
§ 153 (39).
        6.    Plaintiff, SIDNEY NAIMAN (“Plaintiff Naiman”), is a natural person
residing in the state of California and is a “person” as defined by 47 U.S.C. § 153
(39).


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      7.      Plaintiff, LUCY ALSULIMAN (“Plaintiff Alsuliman”), is a natural
person residing in the state of California and is a “person” as defined by 47 U.S.C.
§ 153 (39).
      8.      Defendant,    HEALTH       INSURANCE        INNOVATIONS,         INC.
(“Defendant”) is a company engaged in the business of selling health insurance,
and is a “person” as defined by 47 U.S.C. § 153 (39).
      9.      The above named Defendant, and its subsidiaries and agents, are
collectively referred to as “Defendants.” The true names and capacities of the
Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
names. Each of the Defendants designated herein as a DOE is legally responsible
for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
Complaint to reflect the true names and capacities of the DOE Defendants when
such identities become known.
      10.     Plaintiff is informed and believes that at all relevant times, each and
every Defendant was acting as an agent and/or employee of each of the other
Defendants and was acting within the course and scope of said agency and/or
employment with the full knowledge and consent of each of the other Defendants.
Plaintiff is informed and believes that each of the acts and/or omissions complained
of herein was made known to, and ratified by, each of the other Defendants.
                           FACTUAL ALLEGATIONS
      11.     Beginning in or around December 2017, Defendant contacted Plaintiff
Paula Foote on Plaintiff Foote’s cellular telephone number ending in -1267, in an
attempt to solicit Plaintiff Foote to purchase Defendant’s services. Defendant called
Plaintiff Foote, including but not limited to December 20, 2017, December 27,
2017, December 28, 2017, January 3, 2018, January 4, 2018, January 5, 2018,
January 5, 2018, January 10, 2018, January 12, 2018, January 23, 2018, January
30, 2018, February 28, 2018, and May 5, 2018.


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        12.   Beginning in or around December 2017, Defendant contacted Plaintiff
Terry Fabricant on Plaintiff Fabricant’s cellular telephone number ending in -8950,
in an attempt to solicit Plaintiff Fabricant to purchase Defendant’s services.
Defendant called Plaintiff Fabricant, including but not limited to December 20,
2017.
        13.   Beginning in or around April of 2018, Defendant contacted Plaintiff
Lucy Alsuliman on Plaintiff Alsuliman’s cellular telephone number ending in -
2347, in an attempt to solicit Plaintiff Alsuliman to purchase Defendant’s services.
Defendant called Plaintiff Alsuliman, including but not limited to April 24, 2018.
        14.   Plaintiffs were greeted in nearly every call by the same prerecorded
and artificial voice message, which appeared to utilize computer generation.
        15.   The use of an identical and prerecorded and artificial voice message
along with the frequency in which the called were made evidences that Defendant
used an “automatic telephone dialing system” as defined by 47 U.S.C. § 227(a)(1)
to place its call to Plaintiffs seeking to solicit its services.
        16.   Defendant contacted or attempted to contact Plaintiff from telephone
numbers; including but not limited to (984) 234-7045, (270) 201-5929, (334) 416-
9713, (609) 808-9141, (978) 881-0960, (678) 944-7770, (609) 623-1987, (910)
218-8007, (239) 900-1201, (206) 573-5236, (985) 200-9766, (202) 866-9146,
(818) 860-5432, (609) 225-5799, (201) 907-1327, and (925) 815-1480 confirmed
to be Defendant’s numbers.
        17.   Defendant’s calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227(b)(1)(A).
        18.   Defendant’s calls were placed to telephone number assigned to a
cellular telephone service for which Plaintiffs incur a charge for incoming calls
pursuant to 47 U.S.C. § 227(b)(1).
        19.   During all relevant times, Defendant did not possess Plaintiffs’ “prior
express consent” to receive calls using an automatic telephone dialing system or an


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artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
227(b)(1)(A).
      20.    Further, Plaintiffs’ telephone numbers ending in -8950 were added to
the National Do-Not-Call Registry prior to Defendant’s calls.
      21.    Defendant placed multiple calls soliciting its business to Plaintiff on
their telephone numbers beginning in or around December of 2017.
      22.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
      23.    Plaintiffs received numerous solicitation calls from Defendant within
a 12-month period.
      24.    Defendant continued to call Plaintiffs in an attempt to solicit its
services and in violation of the National Do-Not-Call provisions of the TCPA.
      25.    Upon information and belief, and based on Plaintiffs’ experiences of
being called by Defendant after being on the National Do-Not-Call list for several
years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
establish and implement reasonable practices and procedures to effectively prevent
telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
227(c)(5).
                             CLASS ALLEGATIONS
      26.    Plaintiffs bring this action individually and on behalf of all others
similarly situated, as a member the two proposed classes (hereafter, jointly, “The
Classes”).
      27.    The class concerning the ATDS claim for no prior express consent
(hereafter “The ATDS Class”) is defined as follows:

             All persons within the United States who received any
             solicitation/telemarketing   telephone   calls   from
             Defendant to said person’s cellular telephone made
             through the use of any automatic telephone dialing
             system or an artificial or prerecorded voice and such


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             person had not previously consented to receiving such
             calls within the four years prior to the filing of this
             Complaint

      28.    The class concerning the National Do-Not-Call violation (hereafter
“The DNC Class”) is defined as follows:

             All persons within the United States registered on the
             National Do-Not-Call Registry for at least 30 days, who
             had not granted Defendant prior express consent nor had
             a prior established business relationship, who received
             more than one call made by or on behalf of Defendant
             that promoted Defendant’s products or services, within
             any twelve-month period, within four years prior to the
             filing of the complaint.

      29.    Plaintiffs represent, and are members of, The ATDS Class, consisting
of all persons within the United States who received any collection telephone calls
from Defendant to said person’s cellular telephone made through the use of any
automatic telephone dialing system or an artificial or prerecorded voice and such
person had not previously not provided their cellular telephone number to
Defendant within the four years prior to the filing of this Complaint.
      30.    Plaintiffs represent, and is a member of, The DNC Class, consisting
of all persons within the United States registered on the National Do-Not-Call
Registry for at least 30 days, who had not granted Defendant prior express consent
nor had a prior established business relationship, who received more than one call
made by or on behalf of Defendant that promoted Defendant’s products or services,
within any twelve-month period, within four years prior to the filing of the
complaint.
      31.    Defendant, its employees and agents are excluded from The Classes.
Plaintiff does not know the number of members in The Classes, but believes the
Classes members number in the thousands, if not more. Thus, this matter should


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be certified as a Class Action to assist in the expeditious litigation of the matter.
      32.    The Classes are so numerous that the individual joinder of all of its
members is impractical. While the exact number and identities of The Classes
members are unknown to Plaintiffs at this time and can only be ascertained through
appropriate discovery, Plaintiffs are informed and believe and thereon allege that
The Classes includes thousands of members. Plaintiffs allege that The Classes
members may be ascertained by the records maintained by Defendant.
      33.    Plaintiffs and members of The ATDS Class were harmed by the acts
of Defendant in at least the following ways: Defendant illegally contacted Plaintiffs
and ATDS Class members via their cellular telephones thereby causing Plaintiffs
and ATDS Class members to incur certain charges or reduced telephone time for
which Plaintiffs and ATDS Class members had previously paid by having to
retrieve or administer messages left by Defendant during those illegal calls, and
invading the privacy of said Plaintiffs and ATDS Class members.
      34.    Common questions of fact and law exist as to all members of The
ATDS Class which predominate over any questions affecting only individual
members of The ATDS Class. These common legal and factual questions, which
do not vary between ATDS Class members, and which may be determined without
reference to the individual circumstances of any ATDS Class members, include,
but are not limited to, the following:
             a.     Whether, within the four years prior to the filing of this
                    Complaint, Defendant made any telemarketing/solicitation call
                    (other than a call made for emergency purposes or made with
                    the prior express consent of the called party) to a ATDS Class
                    member using any automatic telephone dialing system or any
                    artificial or prerecorded voice to any telephone number
                    assigned to a cellular telephone service;
             b.     Whether Plaintiffs and the ATDS Class members were


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                    damaged thereby, and the extent of damages for such violation;
                    and
             c.     Whether Defendant should be enjoined from engaging in such
                    conduct in the future.
      35.    As a person that received numerous telemarketing/solicitation calls
from Defendant using an automatic telephone dialing system or an artificial or
prerecorded voice, without Plaintiffs’ prior express consent, Plaintiffs are asserting
claims that are typical of The ATDS Class.
      36.    Plaintiffs and members of The DNC Class were harmed by the acts of
Defendant in at least the following ways: Defendant illegally contacted Plaintiffs
and DNC Class members via their telephones for solicitation purposes, thereby
invading the privacy of said Plaintiffs and the DNC Class members whose
telephone numbers were on the National Do-Not-Call Registry. Plaintiffs and the
DNC Class members were damaged thereby.
      37.    Common questions of fact and law exist as to all members of The
DNC Class which predominate over any questions affecting only individual
members of The DNC Class. These common legal and factual questions, which do
not vary between DNC Class members, and which may be determined without
reference to the individual circumstances of any DNC Class members, include, but
are not limited to, the following:
             a.     Whether, within the four years prior to the filing of this
                    Complaint, Defendant or its agents placed more than one
                    solicitation call to the members of the DNC Class whose
                    telephone numbers were on the National Do-Not-Call Registry
                    and who had not granted prior express consent to Defendant and
                    did not have an established business relationship with
                    Defendant;
             b.     Whether Defendant obtained prior express written consent to


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                   place solicitation calls to Plaintiffs or the DNC Class members’
                   telephones;
             c.    Whether Plaintiffs and the DNC Class member were damaged
                   thereby, and the extent of damages for such violation; and
             d.    Whether Defendant and its agents should be enjoined from
                   engaging in such conduct in the future.
      38.    As a person that received numerous solicitation calls from Defendant
within a 12-month period, who had not granted Defendant prior express consent
and did not have an established business relationship with Defendant, Plaintiffs are
asserting claims that are typical of the DNC Class.
      39.    Plaintiffs will fairly and adequately protect the interests of the
members of The Classes. Plaintiffs have retained attorneys experienced in the
prosecution of class actions.
      40.    A class action is superior to other available methods of fair and
efficient adjudication of this controversy, since individual litigation of the claims
of all Classes members is impracticable. Even if every Classes member could
afford individual litigation, the court system could not. It would be unduly
burdensome to the courts in which individual litigation of numerous issues would
proceed. Individualized litigation would also present the potential for varying,
inconsistent, or contradictory judgments and would magnify the delay and expense
to all parties and to the court system resulting from multiple trials of the same
complex factual issues. By contrast, the conduct of this action as a class action
presents fewer management difficulties, conserves the resources of the parties and
of the court system, and protects the rights of each Classes member.
      41.    The prosecution of separate actions by individual Classes members
would create a risk of adjudications with respect to them that would, as a practical
matter, be dispositive of the interests of the other Classes members not parties to
such adjudications or that would substantially impair or impede the ability of such


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non-party Class members to protect their interests.
      42.    Defendant has acted or refused to act in respects generally applicable
to The Classes, thereby making appropriate final and injunctive relief with regard
to the members of the Classes as a whole.
                          FIRST CAUSE OF ACTION
       Negligent Violations of the Telephone Consumer Protection Act
                                47 U.S.C. §227(b).
                          On Behalf of the ATDS Class
      43.    Plaintiffs repeat and incorporate by reference into this cause of action
the allegations set forth above at Paragraphs 1-44.
      44.    The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including but not limited to each
and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
47 U.S.C. § 227 (b)(1)(A).
      45.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
Plaintiffs and the Class Members are entitled an award of $500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
      46.    Plaintiffs and the ATDS Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.
                        SECOND CAUSE OF ACTION
  Knowing and/or Willful Violations of the Telephone Consumer Protection
                                        Act
                                47 U.S.C. §227(b)
                          On Behalf of the ATDS Class
      47.    Plaintiffs repeat and incorporate by reference into this cause of action
the allegations set forth above at Paragraphs 1-48.
      48.    The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not


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limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
and in particular 47 U.S.C. § 227 (b)(1)(A).
      49.    As a result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227(b), Plaintiffs and the ATDS Class members are entitled an award of
$1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
§ 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
      50.    Plaintiffs and the Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.
                          THIRD CAUSE OF ACTION
       Negligent Violations of the Telephone Consumer Protection Act
                                47 U.S.C. §227(c)
                           On Behalf of the DNC Class
      51.    Plaintiffs repeat and incorporate by reference into this cause of action
the allegations set forth above at Paragraphs 1-52.
      52.    The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including but not limited to each
and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
47 U.S.C. § 227 (c)(5).
      53.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
      54.    Plaintiffs and the DNC Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.
                          FOURTH CAUSE OF ACTION
  Knowing and/or Willful Violations of the Telephone Consumer Protection
                                        Act
                              47 U.S.C. §227 et seq.
                           On Behalf of the DNC Class


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      55.      Plaintiffs repeat and incorporate by reference into this cause of action
the allegations set forth above at Paragraphs 1-56.
      56.      The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
in particular 47 U.S.C. § 227 (c)(5).
      57.      As a result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227(c), Plaintiffs and the DNC Class members are entitled an award of
$1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
§ 227(c)(5).
      58.      Plaintiffs and the DNC Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.
                              PRAYER FOR RELIEF
 WHEREFORE, Plaintiffs request judgment against Defendant for the following:
                           FIRST CAUSE OF ACTION
       Negligent Violations of the Telephone Consumer Protection Act
                                  47 U.S.C. §227(b)
            • As a result of Defendant’s negligent violations of 47 U.S.C.
               §227(b)(1), Plaintiffs and the ATDS Class members are entitled to
               and request $500 in statutory damages, for each and every violation,
               pursuant to 47 U.S.C. 227(b)(3)(B).
            • Any and all other relief that the Court deems just and proper.
                          SECOND CAUSE OF ACTION
  Knowing and/or Willful Violations of the Telephone Consumer Protection
                                         Act
                                  47 U.S.C. §227(b)
            • As a result of Defendant’s willful and/or knowing violations of 47
               U.S.C. §227(b)(1), Plaintiffs and the ATDS Class members are


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             entitled to and request treble damages, as provided by statute, up to
             $1,500, for each and every violation, pursuant to 47 U.S.C.
             §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
            • Any and all other relief that the Court deems just and proper.
                         THIRD CAUSE OF ACTION
       Negligent Violations of the Telephone Consumer Protection Act
                                 47 U.S.C. §227(c)
            • As a result of Defendant’s negligent violations of 47 U.S.C.
             §227(c)(5), Plaintiffs and the DNC Class members are entitled to and
             request $500 in statutory damages, for each and every violation,
             pursuant to 47 U.S.C. 227(c)(5).
            • Any and all other relief that the Court deems just and proper.
                        FOURTH CAUSE OF ACTION
  Knowing and/or Willful Violations of the Telephone Consumer Protection
                                        Act
                                 47 U.S.C. §227(c)
            • As a result of Defendant’s willful and/or knowing violations of 47
             U.S.C. §227(c)(5), Plaintiffs and the DNC Class members are entitled
             to and request treble damages, as provided by statute, up to $1,500,
             for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
            • Any and all other relief that the Court deems just and proper.
      59.    Pursuant to the Seventh Amendment to the Constitution of the United
States of America, Plaintiffs are entitled to, and demand, a trial by jury.
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      Respectfully Submitted this 9th Day of May, 2018.


                              FLORIDA LEGAL, LLC
                               By: /s/ Raymond R. Dieppa
                                   Raymond R. Dieppa
                                   Florida Legal, LLC
                                   Attorney for Plaintiff

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                        CERTIFICATE OF SERVICE



      I HEREBY CERTIFY that a true and correct copy of the foregoing First

Amended Complaint was served by the Electronic Filing System, on May 9, 2018,

on the following counsel or parties of record: Garry W. O’Donnell, Esq.,

Greenspoon Marder LLP, One Boca Place, 2255 Glades Road, Suite 400-E, Boca

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                                                     s/ Raymond R. Dieppa
                                                    Raymond R. Dieppa




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10    Attorneys for Plaintiffs
11                       UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA

13    LUCINE TRIM individually and on              Case No.: 2:21-cv-09857
      behalf of all others similarly situated,
14                                                 CLASS ACTION
                      Plaintiff,
15                                                 COMPLAINT FOR DAMAGES
                             v.                    AND INJUNCTIVE RELIEF
16                                                 PURSUANT TO THE
                                                   TELEPHONE CONSUMER
17    ETHOS TECHNOLOGIES INC.;                     PROTECTION ACT, 47 U.S.C. §
      DOES 1-10 inclusive,                         227, ET SEQ.
18
                    Defendant.                     JURY TRIAL DEMANDED
19
20
                                        INTRODUCTION
21
           1.     LUCINE TRIM (“Trim”) (“Plaintiff”), brings this Class Action
22
     Complaint for damages, injunctive relief, and any other available legal or equitable
23
     remedies, resulting from the illegal actions of ETHOS TECHNOLOGIES INC.
24
     (“Defendant”), in negligently contacting Plaintiff on Plaintiff’s cellular telephone,
25
     in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.,
26
     (“TCPA”) and related regulations, specifically the National Do-Not-Call
27
     provisions, thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon
28
     personal knowledge as to herself and her own acts and experiences, and, as to all

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 1   other matters, upon information and belief, including investigation conducted by
 2   her attorneys.
 3         2.     The TCPA was designed to prevent calls and messages like the ones
 4   described within this complaint, and to protect the privacy of citizens like Plaintiff.
 5   “Voluminous consumer complaints about abuses of telephone technology – for
 6   example, computerized calls dispatched to private homes – prompted Congress to
 7   pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 8         3.     In enacting the TCPA, Congress intended to give consumers a choice
 9   as to how creditors and telemarketers may call them, and made specific findings
10   that “[t]echnologies that might allow consumers to avoid receiving such calls and
11   messages are not universally available, are costly, are unlikely to be enforced, or
12   place an inordinate burden on the consumer.       TCPA, Pub.L. No. 102–243, § 11.
13   Toward this end, Congress found that
14
15                [b]anning such automated or prerecorded telephone calls to the home,
                  except when the receiving party consents to receiving the call or when
16                such calls are necessary in an emergency situation affecting the health
17                and safety of the consumer, is the only effective means of protecting
                  telephone consumers from this nuisance and privacy invasion.
18
19
     Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
20   3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s
21   purpose).
22         4.     Congress also specifically found that “the evidence presented to the
23   Congress indicates that automated or prerecorded calls are a nuisance and an
24   invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See also,
25   Mims, 132 S. Ct. at 744.
26         5.     In a recent decision, the Supreme Court interpreted the term
27
     “automatic telephone dialing system” and held that “[t]o qualify as an ‘automatic
28
     telephone dialing system,’ a device must have the capacity either to store a


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 1   telephone number using a random or sequential generator or to produce a telephone
 2   number using a random or sequential number generator.” Facebook, Inc. v. Duguid,
 3   141 S.Ct. 1163 (2021) (emphasis added).
 4         6.     In Duguid, the Supreme Court provided an example of such systems,
 5
     stating: “For instance, an autodialer might use a random number generator to
 6
     determine the order in which to pick phone numbers from a preproduced list. It
 7
     would then store those numbers to be dialed at a later time.” Id. at 1171-72 fn. 7.
 8
           7.     Further, both Duguid and the legislative history of the TCPA are clear
 9
     that the original focus on prerecorded voice technology prohibition was the fact
10
     that such communications involved agentless calls, not on the question of whether
11
     a literal voice was used during those agentless calls. See Hearing Before the
12
     Subcommittee on Communications of the Committee on Commerce, Science and
13
14
     Transportation, United States Senate One Hundred Second Congress First Session

15   July 24, 1992, Testimony of Robert Bulmash and Steve Hamm at pg 11; 7 FCC

16   Rcd. 8752 (F.C.C. September 17, 1992).
17         8.     The Sixth Circuit has also recognized this distinction: “Congress drew
18   an explicit distinction between ‘automated telephone calls that deliver an artificial
19   or prerecorded voice message’ on the one hand and ‘calls place by ‘live’ persons’
20   on the other.” Ashland Hosp. Corp. v. Serv. Employees Int’l Union, Dist. 1199
21   WV/KY/OH, 708 F.3d 737,743 (6th Cir. 2013).
22         9.     Similarly, the FTC has observed that “prerecorded calls are by their
23   very nature one-sided conversations, and if there is no opportunity for consumers
24   to ask questions, offers may not be sufficiently clear for consumers to make
25
     informed choices before pressing a button or saying yes to make a purchase.” 73
26
     FR 51164-01, 51167 (Aug. 29, 2008).
27
     ///
28
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 1                                   JURISDICTION AND VENUE
 2          10.    Jurisdiction is proper under 28 U.S.C. § 1331 because Plaintiff, alleges
 3   claims under the TCPA, a federal law.
 4          11.    Venue is proper in the United States District Court for the Central
 5   District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
 6   Defendant is subject to personal jurisdiction in the County of Los Angeles, State of
 7   California.
 8                                             PARTIES
 9          12.    Plaintiff is, and at all times mentioned herein, was a citizen and
10   resident of the State of California. Plaintiff is, and at all times mentioned herein
11   was, a “person” as defined by 47 U.S.C. § 153 (39). Plaintiff was physically in
12   California at the time she received the alleged text messages from Defendant.
13          13.    Plaintiff is informed and believes, and thereon alleges, that Defendant
14   is a corporation of the state of Delaware. Defendant, and all of its agents, are and
15   at all times mentioned herein were “persons,” as defined by 47 U.S.C. § 153 (39).
16   Plaintiff alleges that at all times relevant herein Defendant conducted business in
17   the State of California and in the County of Los Angeles, and within this judicial
18   district.
19                                 FACTUAL ALLEGATIONS
20          14.    At all times relevant, Plaintiff was a citizen of Los Angeles County,
21   and a citizen of the State of California. Plaintiff is, and at all times mentioned

22   herein was a “person” as defined by 47 U.S.C. § 153 (39).

23          15.    Defendant is, and at all times mentioned herein was, a “person,” as

24   defined by 47 U.S.C. § 153 (39).

25
            16.    At all times relevant Defendant conducted business in the State of

26
     California and in the County of Los Angeles, within this judicial district.

27
            17.    On or about July 30, 2021, Plaintiff received a text message from
     Defendant on her cellular telephone number ending in -2347, from a cellular
28



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 1   telephone number believed to be owned and operated by Defendant, (858) 465-
 2   4853.
 3           18.   During this time, Defendant began to use Plaintiff’s cellular
 4   telephones for the purpose of sending Plaintiff spam advertisements and/or
 5   promotional offers, via text messages.
 6           19.   Plaintiff started receiving frequent text messages from Defendant that
 7   sought to solicit its life insurance plans.
 8           20.   One such text message sent by Defendant, dated July 31, 2021, read:
 9                 “Lucy,
10                 As I mentioned earlier, I’d like to help you find a simple, affordable
11                 life insurance plan to protect your family, so let’s do it our way.
12                 Click     here     for    a     fast   and      easy   online     quote:
13                 https://agents.ethoslife.com/invite/rsfgroup”
14           21.   Based on the content and format of these text messages, Plaintiff
15   alleges that they were sent via Defendant’s SMS Blasting Platform, i.e., an
16   “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. § 227
17   (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
18           22.   The text message sent to Plaintiff’s cellular telephone was not sent by
19   a live agent and thus created a one-sided conversation in which Plaintiff could not
20   receive a response to her questions and/or concerns. The text message also was sent
21   in an automated fashion as a result of computerized campaigns that were pre-
22   programmed in advance to send messages out to large groups of consumers all at
23   once, either sequentially or via algorithmic dialing, i.e. in an automated fashion by
24   a computer.
25           23.   In Merriam Webster’s Dictionary, “voice” is defined as “an
26
     instrument or medium of expression.”            It defines “artificial” as “humanly
27
     contrived…often on a natural model : MAN-MADE” and “lacking in natural or
28
     spontaneous quality.”


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 1         24.     The messages sent to Plaintiff by Defendant using the SMS blasting
 2   platform employed a text message as an instrument or medium of expression to
 3   deliver an automatic message drafted in advance of being sent, i.e. that of an SMS
 4   message, to convey a telemarketing communication to Plaintiff. SMS blasting
 5
     platforms are man-made humanly contrived programs which allow companies to
 6
     blast out such messages via non-spontaneous methods, i.e. automated methods
 7
     similar to that of an assembly line in a factory. Such SMS blasting devices are
 8
     incapable of spontaneity, as they must be programmed by the operator to
 9
     automatically send messages out, en masse, pursuant to preprogrammed
10
     parameters.
11
           25.     Accordingly, Defendant’s messages utilized an “artificial voice” as
12
     prohibited by 47 U.S.C. § 227(b)(1)(A).
13
14
           26.     In Merriam Webster’s Dictionary, “prerecorded” is defined as

15   “recorded in advance.” “Recorded” is defined as “to set down in writing.” The

16   text message sent to Plaintiff’s cellular telephone via an SMS blasting platform was
17   set down in writing in advance by Defendant, whose employees wrote out the
18   standard automated messages that were to be sent to Plaintiff and other class
19   members, and by way of preprogrammed SMS blasting, entered the prerecorded
20   message into the SMS Blasting platform, and thereafter sent these messages
21   pursuant to scheduled blasts that were programmed by Defendant. Thus, Defendant
22   employed a text message as an instrument or medium of expression to deliver a
23   prerecorded message drafted in advance of being sent.
24         27.     Thus, Defendant’s messages utilized a “prerecorded voice” as
25
     prohibited by 47 U.S.C. § 227(b)(1)(A).
26
           28.     The telephone number that Defendant, or their agent texted were
27
     assigned to a cellular telephone service for which Plaintiff incur charges for
28
     incoming texts pursuant to 47 U.S.C. § 227 (b)(1).


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 1           29.   These text messages constituted calls that were not for emergency
 2   purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
 3           30.   Plaintiff was never a customer of Defendant and never provided her
 4   cellular telephone number to Defendant or its lead vendor for any reason
 5   whatsoever. Accordingly, Defendant and their agents never received Plaintiff’s
 6   prior express consent to receive unsolicited text messages, pursuant to 47 U.S.C. §
 7   227 (b)(1)(A).
 8           31.   Further, Plaintiff’s cellular telephone number ending in -2347 had
 9   been on the National Do-Not-Call Registry well over thirty (30) days prior to
10   Defendant’s initial text message.
11           32.   Defendant sent multiple text messages soliciting its business to
12   Plaintiff on her cellular telephone ending in -2347 in or around July 2021 to August
13   2021.
14           33.   Such text messages constitute solicitation calls pursuant to 47 C.F.R.
15   § 64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
16           34.   Plaintiff received at least four text messages from Defendant within a
17   12-month period.
18           35.   Upon information and belief, and based on Plaintiff’s experience of
19   being messages by Defendant after being on the National Do-Not-Call list for
20   months prior to Defendant’s initial calls, and at all relevant times, Defendant failed
21   to establish and implement reasonable practices and procedures to effectively

22   prevent telephone solicitations in violation of the regulations prescribed under 47

23   U.S.C. § 227(c)(5).

24
             36.   These text messages by Defendant, or its agents, violated 47 U.S.C. §

25
     227(b)(1) and 47 U.S.C. § 227(c).

26
     ///

27
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 1                                 CLASS ACTION ALLEGATIONS
 2          37.       Plaintiff brings this action on behalf of herself and on behalf of and all
 3   others similarly situated, as a member of the two proposed Classes (together, the
 4   “Classes”).
 5          38.       Plaintiff represents, and is a member of, the ATDS Class (“ATDS
 6   Class”), defined as follows: all persons within the United States who received any
 7   unsolicited text messages sent using an ATDS or an artificial or prerecorded voice
 8   from Defendant, which text message was not made for emergency purposes or with
 9   the recipient’s prior express consent within the four years prior to the filing of the
10   Complaint through the date of class certification.
11          39.       Plaintiff represents, and is a member of, the DNC Class (“DNC
12   Class”), defined as follows: all persons within the United States registered on the
13   National Do-Not-Call Registry for at least 30 days, who had not granted Defendant
14   prior express consent nor had a prior established business relationship, who
15   received more than one text message sent by or on behalf of Defendant that
16   promoted Defendant’s products or services, within any twelve-month period,
17   within four years prior to the filing of the Complaint through the date of class
18   certification.
19          40.       Defendant and its employees or agents are excluded from the Classes.
20   Plaintiff does not know the number of members in the Classes, but believes the
21   Class members number in the hundreds of thousands, if not more. Thus, this matter

22   should be certified as a Class action to assist in the expeditious litigation of this

23   matter.

24
            41.       This suit seeks only damages and injunctive relief for recovery of

25
     economic injury on behalf of the Class, and it expressly is not intended to request

26
     any recovery for personal injury and claims related thereto. Plaintiff reserves the

27
     right to expand the Class definition to seek recovery on behalf of additional persons
     as warranted as facts are learned in further investigation and discovery.
28



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 1         42.    The joinder of the Class members is impractical and the disposition of
 2   their claims in the Class action will provide substantial benefits both to the parties
 3   and to the court. The Class can be identified through Defendant’s records or
 4   Defendant’s agents’ records.
 5         43.    Plaintiff and members of the ATDS Class were harmed by the acts of
 6   Defendant in at least the following ways: Defendant, either directly or through their
 7   agents, illegally contacted Plaintiff and the ATDS Class members via their cellular
 8   telephones by using marketing and text messages, thereby causing Plaintiff and the
 9   ATDS Class members to incur certain cellular telephone charges or reduce cellular
10   telephone time for which Plaintiff and the ATDS Class members previously paid,
11   and invading the privacy of said Plaintiff and the ATDS Class members. Plaintiff
12   and the ATDS Class members were damaged thereby.
13         44.    There is a well-defined community of interest in the questions of law
14   and fact involved affecting the ATDS Class members. The questions of law and
15   fact common to the ATDS Class predominate over questions which may affect
16   individual ATDS Class members, including the following:
17
            a)    Whether, within the four years prior to the filing of this Complaint
18
                  through the date of class certification, Defendant or their agents sent
19                any text messages (other than a message made for emergency
20
                  purposes or made with the prior express consent of the called party)
                  to an ATDS Class member using any automatic dialing system or
21                artificial or prerecorded voice to any telephone number assigned to a
22                cellular phone service;
            b)    Whether Plaintiff and the ATDS Class members were damaged
23                thereby, and the extent of damages for such violation; and
24          c)    Whether Defendant and their agents should be enjoined from
                  engaging in such conduct in the future.
25
26
           45.    As a person that received at least one solicitation text message without
27
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of the
28
     ATDS Class. Plaintiff will fairly and adequately represent and protect the interests


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 1    of the ATDS Class in that Plaintiff has no interests antagonistic to any member of
 2    the ATDS Class.
 3          46.   Plaintiff and members of the DNC Class were harmed by the acts of
 4    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 5    and the DNC Class members via their cellular telephones for solicitation purposes,
 6    thereby invading the privacy of Plaintiff and the DNC Class members whose
 7    telephone numbers were on the National Do-Not-Call Registry. Plaintiff and the
 8    DNC Class members were damaged thereby.
 9          47.   There is a well-defined community of interest in the questions of law
10    and fact involved affecting the DNC Class members. The questions of law and fact
11    common to the DNC Class predominate over questions which may affect individual
12    DNC Class members, including the following:
13           a.   Whether, within four years prior to the filing of this complaint through
14                the date of class certification, Defendant or its agents sent more than
15                one solicitation text to the members of the DNC Class whose
16                telephone numbers were on the National Do-Not-Call Registry for
17                over thirty days and who had not granted prior express consent to
18                Defendant and did not have an established business relationship with
19                Defendant;
20           b.   Whether Defendant obtained prior express written consent to send
21                solicitation texts to Plaintiff’s or the DNC Class members’ telephones;
22           c.   Whether Plaintiff and the DNC Class members were damaged
23                thereby, and the extent of damages for such violation; and
24           d.   Whether Defendant and its agents should be enjoined from engaging
25                in such conduct in the future.
26          48.   Plaintiff and the members of the Classes have all suffered irreparable
27    harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
28    action, the Classes will continue to face the potential for irreparable harm. In


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 1    addition, these violations of law will be allowed to proceed without remedy and
 2    Defendant will likely continue such illegal conduct. Because of the size of the
 3    individual member’s claims, few, if any, members of these Classes could afford to
 4    seek legal redress for the wrongs complained of herein.
 5          49.    Plaintiff has retained counsel experienced in handling class action
 6    claims and claims involving violations of the Telephone Consumer Protection Act.
 7          50.    A class action is a superior method for the fair and efficient
 8    adjudication of this controversy. Class-wide damages are essential to induce
 9    Defendant to comply with federal and California law. The interest of the Classes’
10    members in individually controlling the prosecution of separate claims against
11    Defendant are small because the maximum statutory damages in an individual
12    action for violation of privacy are minimal. Management of these claims is likely
13    to present significantly fewer difficulties than those presented in many class claims.
14          51.    Defendant has acted on grounds generally applicable to the Classes,
15    thereby making appropriate final injunctive relief and corresponding declaratory
16    relief with respect to the Classes as a whole.
17
                            FIRST CAUSE OF ACTION
18
       NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
19                             47 U.S.C. § 227(B)
20
                        ON BEHALF OF THE ATDS CLASS
            52.    Plaintiff incorporates by reference all of the above paragraphs of this
21
      Complaint as though fully stated herein.
22
            53.    The foregoing acts and omissions of Defendant constitute numerous
23
      and multiple negligent violations of the TCPA, including but not limited to each
24
      and every one of the above-cited provisions of 47 U.S.C. § 227(b).
25
            54.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
26
      Plaintiff and the ATDS Class members are entitled to an award of $500.00 in
27
28



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 1    statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 2    227(b)(3)(B).
 3          55.    Plaintiff and the ATDS Class members are also entitled to and seek
 4    injunctive relief prohibiting such conduct in the future.
 5
 6
                              SECOND CAUSE OF ACTION
                      KNOWING AND/OR WILLFUL VIOLATIONS OF THE
 7                      TELEPHONE CONSUMER PROTECTION ACT
 8                                47 U.S.C. § 227(B)
                           ON BEHALF OF THE ATDS CLASS
 9
            56.    Plaintiff incorporates by reference all of the above paragraphs of this
10
      Complaint as though fully stated herein.
11
            57.    The foregoing acts and omissions of Defendant constitute numerous
12
      and multiple knowing and/or willful violations of the TCPA, including but not
13
      limited to each and every one of the above-cited provisions of 47 U.S.C. § 227(b).
14
            58.    As a result of Defendant’s knowing and/or willful violations of 47
15
      U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled to an award of
16
      $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
17
      § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
18
            59.    Plaintiff and the ATDS Class members are also entitled to and seek
19
      injunctive relief prohibiting such conduct in the future.
20
21                          THIRD CAUSE OF ACTION
22     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227(C)
23                       ON BEHALF OF THE DNC CLASS
24          60.    Plaintiff incorporates by reference all of the above paragraphs of this
25    Complaint as though fully stated herein.
26          61.    The foregoing acts and omissions of Defendant constitute numerous
27    and multiple negligent violations of the TCPA, including but not limited to each
28



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 1    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
 2    47 U.S.C. § 227(c)(5).
 3          62.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
 4    Plaintiff and the DNC Class members are entitled to an award of $500.00 in
 5    statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 6    227(c)(5)(B).
 7          63.    Plaintiff and the DNC Class members are also entitled to and seek
 8    injunctive relief prohibiting such conduct in the future.
 9
                          FOURTH CAUSE OF ACTION
10
        KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
11                            PROTECTION ACT
12                            47 U.S.C. § 227(C)
                        ON BEHALF OF THE DNC CLASS
13
            64.    Plaintiff incorporates by reference all of the above paragraphs of this
14
      Complaint as though fully stated herein.
15
            65.    The foregoing acts and omissions of Defendant constitute numerous
16
      and multiple knowing and/or willful violations of the TCPA, including but not
17
      limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
18
      and in particular 47 U.S.C. § 227(c)(5).
19
            66.    As a result of Defendant’s knowing and/or willful violations of 47
20
      U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled to an award of
21
      $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
22
      § 227(c)(5)(B).
23
            67.    Plaintiff and the DNC Class members are also entitled to and seek
24
      injunctive relief prohibiting such conduct in the future.
25
                                     PRAYER FOR RELIEF
26
            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and
27
      members of the Classes, the following relief against Defendant:
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 1              FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                              THE TCPA, 47 U.S.C. § 227(B)
 2         • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
 3           Plaintiff seeks for herself and each ATDS Class member $500.00 in
             statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 4
             227(b)(3)(B).
 5         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 6           conduct in the future.
           • Any other relief the Court may deem just and proper.
 7
 8      SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL VIOLATION OF
                              THE TCPA, 47 U.S.C. § 227(B)
 9
           • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
10           § 227(b)(1), Plaintiff seeks for herself and each ATDS Class member
11           $1,500.00 in statutory damages, for each and every violation, pursuant to
             47 U.S.C. § 227(b)(3)(B).
12
           • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
13           conduct in the future.
14         • Any other relief the Court may deem just and proper.
15              THIRD CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
16                            THE TCPA, 47 U.S.C. § 227(C)
           • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c)(5),
17
             Plaintiff seeks for herself and each DNC Class member $500.00 in
18           statutory damages, for each and every violation, pursuant to 47 U.S.C. §
19           227(c)(5).
           • Pursuant to 47 U.S.C. § 227(c)(5)(A), injunctive relief prohibiting such
20           conduct in the future.
21         • Any other relief the Court may deem just and proper.
22
        FOURTH CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL VIOLATION OF
23                            THE TCPA, 47 U.S.C. § 227(C)
24        • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
             § 227(c)(5), Plaintiff seeks for herself and each DNC Class member
25
             $1,500.00 in statutory damages, for each and every violation, pursuant to
26           47 U.S.C. § 227(c)(5)(B).
27        • Pursuant to 47 U.S.C. § 227(c)(5)(A), injunctive relief prohibiting such
             conduct in the future.
28        • Any other relief the Court may deem just and proper.


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 1                                      TRIAL BY JURY
 2          68.    Pursuant to the seventh amendment to the Constitution of the United
 3    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
      Dated: December 22, 2021                              Respectfully submitted,
 5
 6                                    THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
                                                        By: _/s/ Todd M. Friedman_____
 8                                                              TODD M .FRIEDMAN, ESQ.
 9
                                                              ATTORNEY FOR PLAINTIFFS

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